Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 1 of 142 Page ID #:1




  1   William C. Reeves – 183878
      MORALES FIERRO & REEVES
  2   2151 Salvio Street, Suite 280
      Concord, CA 94520
  3   Telephone: 925/288-1776
      Facsimile: 925/288-1856
  4   Email: wreeves@mfrlegal.com
  5   Attorneys for Defendant
      Lemonade Insurance Agency, LLC
  6
  7
  8                                  UNITED STATES DISTRICT COURT
  9                                CENTRAL DISTRICT OF CALIFORNIA
 10   TINA WILLIAMS,                                         )       Case No.:
                                                             )
 11                     Plaintiff,                           )       NOTICE OF REMOVAL
                                                             )
 12           vs.                                            )
                                                             )
 13   LEMONADE INSURANCE                                     )
      AGENCY, LLC,                                           )
 14                                                          )
                        Defendant.                           )
 15                                                          )
 16           TO THE COURT ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 17           BE ADVISED THAT Defendant Lemonade Insurance Agency, Inc.
 18   ("Defendant"), pursuant to 28 U.S.C. § § 1332 and 1441, hereby removes to this
 19   Court the matter Plaintiff Tina Williams ("Plaintiff") filed that was assigned Los
 20   Angeles County Superior Court Case No. 21CHCV00454 ("State Court Action").
 21           This Court has jurisdiction over the State Court Action so as to permit for the
 22   removal of it to this Court as the parties are diverse, the amount at issue exceeds
 23   $75,000, the venue is proper and the instant notice is timely filed.
 24           For purposes of this Court's jurisdiction, the only relevant parties named in the
 25   Complaint filed in the State Court Action are the Plaintiff and the Defendant. 1
 26   Complete diversity exists between these parties as:
 27
      1
       While the Complaint filed in the State Court Action names Doe Defendants, these parties are properly disregarded. 28
 28   U.S.C. § 1441(b)(1).

                                                                 1
      NOTICE
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 2 of 142 Page ID #:2




  1         •      Plaintiff, on information and belief, is an individual residing in
  2   California
  3         •      Defendant is a limited liability company with a single member -
  4   Lemonade, Inc. Lemonade Inc. is a corporation incorporated in Delaware with its
  5   principal place of business in New York.
  6         Per the Complaint filed in the State Court Action, the amount at issue exceeds
  7   $75,000 as Plaintiff alleges that she is entitled to coverage under an insurance policy
  8   that Lemonade allegedly issued for a loss valued at $167,885 of which, per Plaintiff,
  9   she has only been paid $38,859.
 10         This Court is the proper venue as the State Court Action was filed in Los
 11   Angeles County Superior Court.
 12         Finally, the removal of the State Court Action to this Court is timely as
 13   Defendant was served on November 2, 2021 such that the instant Notice is filed with
 14   this Court within thirty (30) days of service.
 15         Attached hereto are the following relevant documents:
 16         •      Exhibit 1 - Complaint filed in the State Court Action.
 17         •      Exhibit 2 - Proof of Service
 18         A copy of this Notice will be filed in connection with the State Court Action.
 19   Dated: November 17, 2021
 20                                                    MORALES FIERRO & REEVES
 21
 22                                           By       /s/ William C. Reeves
                                                       William C. Reeves
 23                                                    Attorneys for Defendant
 24
 25
 26
 27
 28
                                                   2
      NOTICE
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 3 of 142 Page ID #:3




                                            Exhibit 1
Electronically FILED by Superior Court of California, County of Los Angeles on 06/14/2021 12:25 PM Sherri R. Carter, Executive Officer/Clerk of Court, by S. Reyna,Deputy Clerk
                      Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 4 of 142 Page ID #:4
                                                      21CHCV00454
                                         Assigned for all purposes to: Chatsworth Courthouse, Judicial Officer: Stephen Pfahler




                  1     Arash Merpour, Esq. (SBN 314454)
                        Merpour Law, Inc.
                  2     2006 East Foothill Blvd
                        Pasadena, CA 91107
                  3     Telephone: (805) 222-6738
                        E-mail: arash@merpourlaw.com
                  4
                        Attorney for Plaintiff
                  5     Tina Williams

                  6

                  7
                                                      SUPERIOR COURT OF THE STATE OF CALIFORNIA
                  8
                                          FOR THE COUNTY OF LOS ANGELES NORTH VALLEY DISTRICT
                  9

                10      Tina Williams, an individual,                                             Case No.:
                11                 Plaintiff;                                                     COMPLAINT FOR:
                12                 v.                                                                   1. BREACH OF CONTRACT;
                                                                                                        2. BREACH OF IMPLIED COVENANT OF
                13      Lemonade Insurance Agency, LLC, a New                                              GOOD FAITH AND FAIR DEALING;
                        York Limited Liability Company, and Does
                14      1 through 25, inclusive.
                                                                                                  [Unlimited Jurisdiction Over $25,000]
                15
                                   Defendants.
                16

                17
                                 COMES NOW, Plaintiff Tina Williams who hereby files the following Complaint (hereinafter the
                18

                19
                         “Complaint”) asserting the following causes of action against the above-named defendants based on the

                20       following allegations:

                21                                              THE PARTIES, JURISDICTION, AND VENUE
                22                  1.       Plaintiff Tina Williams is, and at all times mentioned hereunto was, a resident of the State
                23
                         of the California, Los Angeles County.
                24
                                    2.       On information and belief, Defendant Lemonade Insurance Agency, LLC (“LEMON-
                25
                         ADE”) is an insurance company which is authorized to and is doing business in the State of California,
                26

                27       Los Angele County.

                28

                                                                                                 1
                                                                                             COMPLAINT
     Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 5 of 142 Page ID #:5




               3.       Plaintiff is ignorant of the true names and capacities of defendants sued herein as Does 1
 1

 2     through 20, inclusive, and therefore sue said defendants by such fictitious names. Plaintiff will amend

 3     this Complaint to allege their true names and capacity when the same are ascertained. Plaintiff is further

 4     informed and believes and thereon alleges that at all relevant times herein mentioned, each defendant
 5
       whether specifically named or as a doe was the owner, agent, servant, employee, representative, and/or
 6
       co-conspirator of each of the remaining defendants, and in doing or failing to do the things alleged herein
 7
       was acting within the course and scope of said agency, service, employment, representation, and/or
 8
       conspiracy. The negligent, willful, fraudulent, and/or malicious conduct and actions of each defendant,
 9

10     and each of them, combined to cause injury to the Plaintiff.

11             4.       Plaintiff is informed and believe and thereon allege that each of the defendants, including
12     Does 1 through 20, inclusive, approved, adopted, acquiesced, ratified, and/or agreed to the acts and
13
       omissions of each of the remaining defendants as alleged herein. Plaintiff is also informed and believe
14
       and thereon allege that each of the defendants, including Does 1 through 20, inclusive, approved,
15
       adopted, acquiesced, ratified, and/or agreed to the acts and omissions of each of the remaining defend-
16

17     ants as alleged herein.

18             5.       This Court has subject matter jurisdiction over this action because the amount in contro-

19     versy exceeds the jurisdictional minimum for this Court.
20
               6.       Venue is proper in this Court because the subject property in dispute is within the Court’s
21
       jurisdictional limits, the acts and omissions complained of herein occurred within the Court’s jurisdic-
22
       tional limits.
23
                                                 FACTUAL SUMMARY
24

25             7.       Plaintiff lives at 21444 Peggy Joyce Lane, Santa Clarita, CA 91350 (“Property”).

26             8.       Plaintiff took out a Lemonade Insurance Agency, LLC (“LEMONADE”) homeowners pol-

27     icy for her Property, policy number LP57346AC7 (“POLICY”), effective March 1, 2019 through March
28

                                                           2
                                                       COMPLAINT
     Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 6 of 142 Page ID #:6




       1, 2020. The POLICY is attached as Exhibit A. The POLICY covered, among other things, her dwelling,
 1

 2     other structures, personal property, loss of use.

 3             9.    On June 14, 2019, while the POLICY was in full force, Plaintiff suffered a loss on her

 4     property and reported it to Lemonade, claim #LC5268E07.
 5
               10.   Plaintiff submitted multiple invoices, estimates, proposals, and other documentation sup-
 6
       porting a loss of at least $167,885.60.
 7
               11.   LEMONADE failed to investigate all of Plaintiff’s submitted damages.
 8
               12.   LEMONADE only investigated $53,749 in damages and only paid out $38,859.1 to Plain-
 9

10     tiff.

11             13.   LEMONADE has never provided Plaintiff with an explanation as to why the rest of her
12     claim was denied.
13
               14.   LEMONADE has never provided Plaintiff with a clear understanding, in writing, of which
14
       part of her policy covered her claim payout.
15
               15.   Plaintiff’s counsel submitted multiple requests to review the entire case file and for an
16

17     explanation of LEMONADE’s payout to Plaintiff. LEMONADE failed to explain the case to Plaintiff’s

18     counsel.

19             16.   On December 21, 2020, Plaintiff’s counsel sent a request for the entire case file (Exhibit
20
       B).
21
               17.   On January 13, 2021, having received nothing, Plaintiff’s counsel sent a second request for
22
       the entire case file. (Exhibit C).
23
               18.   On March 12, 2021, having received nothing and after LEMONADE directly contacted
24

25     Plaintiff without her counsel’s permission or presence, Plaintiff’s counsel sent a third request for the

26     case file. (Exhibit D).

27             19.   On April 9, 2021, having received nothing, Plaintiff’s counsel sent a fourth request for the
28
       case file. (Exhibit E). Up to this date, nearly four months after the request LEMONADE is still refusing
                                                          3
                                                      COMPLAINT
     Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 7 of 142 Page ID #:7




       to answer basic questions and provide any information relating to how much money it paid to Plaintiff
 1

 2     and what part of her claim was accepted or denied.

 3            20.   On April 12, 2021, after months of delay, LEMONADE finally released a limited number

 4     of documents purporting to be the entire case file (“CASE FILE”).
 5
              21.   On April 12, 2021, after reviewing the CASE FILE, Plaintiff’s counsel sent a follow-up
 6
       etter pointing out a few of the deficiencies and requesting further clarification on basic information such
 7
       as what the payouts covered. (EXHIBIT F).
 8
              22.   On April 26, 2021, Plaintiff’s counsel sent another follow-up letter pointing out a few of
 9

10     the deficiencies and requesting further clarification on basic information such as what the payouts cov-

11     ered. (EXHIBIT G).
12            23.   On May 3, 2021, Plaintiff’s counsel sent a letter confirming that LEMONADE would be
13
       providing no more documents and not answering any of the deficiencies pointed out on the letters dated
14
       April 12 & 26, 2021. (EXHIBIT H).
15
              24.   On May 13, 2021, Plaintiff submitted a notarized Sworn Statement of Loss. Exhibit I is
16

17     the letter Plaintiff submitted to Lemonade along with her Sworn Statement of Loss, including estimates

18     for the damages.

19            25.   On May 18, 2021, LEMONADE suddenly found new documents and provided them with
20
       an “explanation” of what LEMONADE’s payouts covered. The majority of which should have been
21
       provided with the CASE FILE. There were no documents relating to a denial letter or explanation as to
22
       which part of the policy was used to pay out Plaintiff. In this letter Lemonade is denying the claim. The
23
       first two pages are attached as Exhibit J. These first two pages contain the “explanations” of the payout.
24

25            26.   In its May 18, 2021 letter, LEMONADE purports to explain $12,638.85 in damages as

26     “Oth Structures Reference bates LEMONADE0000076-000087.

27            27.   In its May 18, 2021 letter, LEMONADE purports to explain $11,500.00 in damages as
28
       “Oth Structures for Mortgage Reference bates LEMONADE000076-000087.”
                                                         4
                                                     COMPLAINT
     Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 8 of 142 Page ID #:8




               28.     LEMONADE’s CASE FILE bates LEMONADE00076-00087 is attached as Exhibit K.
 1

 2     These references pages do nothing to explain why the money was paid out, what invoices/proposals/es-

 3     timates supported the payment, and what part of the policy covered the payments. Plaintiff is unable to

 4     verify how these payments were calculated based on LEMONADE’s explanation.
 5
               29.     LEMONADE never provided a further explanation of the case.
 6
               30.     On June 10, 2021, Plaintiff’s counsel confirmed that LEMONADE is denying the sworn
 7
       proof of loss and not providing any more documents. (“Exhibit L”).
 8
               31.     Plaintiff received no additional communications, documents, or explanations from LEM-
 9

10     ONADE, including not any denial letters, explanations as to what part of Plaintiff’s claim covered LEM-

11     ONADE’s payout, and verifiable explanations as to how LEMONADE calculated all of the payouts to
12     Plaintiff, and a copy of all the proposals, estimates, invoices, Plaintiff submitted to LEMONADE.
13
               32.     LEMONADE provided no documentation indicating it investigated Plaintiff’s entire sworn
14
       statement of loss. Many of the documents submitted in Plaintiff’s sworn statement of loss were not part
15
       of the CASE FILE or any documentation provided by LEMONADE to Plaintiff.
16

17             33.     LEMONADE purposefully denied Plaintiff her entire case file, her denial letter, any ac-

18     ceptance letter, and explanation as to what part of her policy covered her payout, a thorough review of

19     all her documents, and an investigation into her sworn statement of loss as part of an overall scheme to
20
       wrongfully deprive Plaintiff of the benefits under her Policy. LEMONADE willfully continued to refuse
21
       multiple attempts by Plaintiff’s counsel to obtain a basic understanding of her claim in an effort to run
22
       out the statute of limitations related to this claim.
23

24

25                                               FIRST CAUSE OF ACTION

26                                  Breach of Written Contract (against all defendants)

27             34.     Plaintiff realleges the allegations contained in each paragraph above as though fully set
28
       forth herein.
                                                           5
                                                       COMPLAINT
     Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 9 of 142 Page ID #:9




              35.      Pursuant to the terms of the POLICY, LEMONADE was and is contractually required to
 1

 2     pay for the loss sustained by Plaintiff.

 3            36.      LEMONADE has refused and failed to provide Plaintiff with the insurance coverage as

 4     expressly required under the Policy and otherwise failed and refused to timely provide Plaintiff with the
 5
       full and complete benefits to which she is entitled under the Policy. Accordingly, LEMONADE is in
 6
       breach of the express and specific terms of the LEMONADE policy.
 7
              37.      As a direct a proximate result of LEMONADE’s breach of contractual duties, Plaintiff has
 8
       sustained damages in an amount which shall be established at the time of trial, currently in excess of
 9

10     $25,000.

11                                             SECOND CAUSE OF ACTION
12            Breach of the Implied Covenant of Good Faith and Fair Dealing (against all Defendants)
13
              38.      Plaintiff realleges the allegations contained in each paragraph above as though fully set
14
       forth herein.
15
              39.      At all times mentioned herein, LEMONADE was obligated to act in good faith and fair
16

17     dealing with Plaintiff. Such obligation is consistent with the implied covenant of good faith and fair

18     dealing implied in any contract and especially in a contract of insurance.

19            40.      Included within the benefit of the bargain to which Plaintiff is entitled under the POLICY
20
       was the peace of mind that LEMONADE would deal fairly, promptly and completely investigate any
21
       and all claims for benefits under the POLICY that would make a fair, reasonable, and prompt evalua-
22
       tion of PLAINTIFF’s claim and promptly extend fair, reasonable and good faith sett offer to timely
23
       resolve the claim.
24

25            41.      Another benefit of the bargain to which Plaintiff was entitled was the peace of mind that

26     LEMONADE would not deliberately misapply the facts and/or law in an effort to support its knowing

27     and unfair decision to improperly and unreasonably withhold, delay, and deny Plaintiff’s claim.
28

                                                           6
                                                       COMPLAINT
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 10 of 142 Page ID #:10




            42.   Another benefit of the bargain to which Plaintiff was entitled was LEMONADE’s good
 1

 2   faith compliance with its continued and affirmative obligation to make sure that PLAINTIFF would

 3   promptly and timely receive the benefits to which she was entitled and that LEMONADE would not

 4   engage in conduct designed to wrongfully deprive her of timely receiving the complete benefits to
 5
     which she was entitled and which LEMONADE knew were due and owing to Plaintiff.
 6
            43.   Another benefit of the bargain to which Plaintiff was entitled was the peace of mind that
 7
     LEMONADE would give at least as much consideration to Plaintiff’s interest with respect to their
 8
     claim for coverage as LEMONADE gave to its own.
 9

10          44.   LEMONADE has deliberately and unreasonably refused and failed to act in good faith

11   and deal fairy with Plaintiff by:
12             a) Failing to act properly, promptly, reasonably, fairly, and adequately in the handling and
13
                   resolution of Plaintiff’s claim for coverage under the Policy;
14
               b) Improperly and tediously delaying and refusing to make timely payments to Plaintiff un-
15
                   der the POLICY, without proper cause and without regard to the facts and circumstances
16

17                 regarding Plainitiff’s loss;

18             c) Deliberately refusing to timely provide Plaintiff with the full and complete benefits to

19                 which she was entitled under the POLICY, without proper cause and without regards to
20
                   the provision of the POLICY, relevant case law, applicable insurance regulations, and
21
                   the undisputed facts, even though LEMONADE knew it owed to Plaintiff for her loss;
22
               d) Refusing to provide reasonable and timely benefits to Plaintiff, and by further refusing to
23
                   provide reasonable and timely offers of benefits to Plaintiff
24

25             e) Plaintiff believes and thereon alleges that LEMONADE knowingly proceeded to engage

26                 in conduct calculated to delay the adjustment and resolution of Plainitff’s claims for pay-

27                 ments pursuant to the Policy and to fully and fairly evaluate Plaintiff’s claims to resolve
28
                   such claims, thereby knowingly engaging in conduct calculated to lead to the delay and
                                                      7
                                                  COMPLAINT
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 11 of 142 Page ID #:11




                  improper denial of benefits LEMONADE knew were due and owing to Plaintiff, thereby
 1

 2                causing Plaintiff to experience emotional distress and in order to allow LEMONADE to

 3                save money by depriving Plaintiff of the benefits LEMONADE knew should have been

 4                paid to Plaintiff;
 5
               f) Basing its decision to refuse to timely provide Plaintiff with he full, complete, and
 6
                  timely benefits on LEMONADE’s desire to reduce or avoid its obligations owed to
 7
                  Plaintiff;
 8
               g) Forcing Plaintiff to proceed with litigation to receive the benefits LEMONADE knew
 9

10                were due and owing;

11             h) Refusing to give Plainitff’s interests as much consideration as LEMONADE’s interest;
12             i) Refusing to review all of the estimates, proposals, invoices, assertions for the loss pro-
13
                  vided by Plaintiff;
14
               j) Refusing to provide Plaintiff with a denial letter or other type of explanation as to what
15
                  part of the POLICY paid out her loss, how her loss was calculated, and what documenta-
16

17                tion supported or denied her loss payout;

18             k) Engaging in the above and other conduct in contravention of LEMONADE’s duties and

19                responsibilities under the California Insurance Code §790.03(h) and the California Fair
20
                  Claims Practices Regulations, 10 C.C.R. §2695.1 et seq., which such conduct, while it
21
                  may not give rise to a private cause of action, does substantiate and provide a prima facie
22
                  showing of a breach of the implied covenant of good faith and fair dealing; and
23
               l) Plaintiff reserves the right to assert additional acts of bad faith as they are discovered.
24

25          45.   As a direct legal result of LEMONADE’s wrongful conduct, Plaintiff has suffered severe

26   emotional and mental distress and discomfort in an amount not yet fully ascertained.

27

28

                                                       8
                                                   COMPLAINT
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 12 of 142 Page ID #:12




            46.   The conduct of LEMONADE as herein alleged was done with fraud, malice and oppres-
 1

 2   sion as defined in California Civil Code §3294, in that said conduct was deliberately intended to an-

 3   noy, harass, and injure Plaintiff, was despicable and was carried on with willful and conscious disre-

 4   gard for the rights of Plaintiff, and was done with deliberate intent and purpose to cause harm to Plain-
 5
     tiff, thereby subjecting Plaintiff to cruel and unjust hardship. Plaintiff is informed and believes and
 6
     thereon alleges that the acts of fraud, malice, and oppression on the part of LEMONADE was on the
 7
     part of officers, directors, or managers and agents of said company and/or otherwise ratified by LEM-
 8
     ONADE. In addition, while LEMONADE’s conduct toward Plaintiff was egregious, PLAINTIFF is
 9

10   informed and believes and thereon alleges that such conduct is keeping with LEMONADE’s actions in

11   delaying claims by other parties who are entitled to benefits under LEMONADE’s policies who are in
12   a similar situation to Plaintiff. Therefore, Plaintiff is entitled to recover exemplary damages from
13
     LEMONADE, pursuant to California Civil Code §3294, and any other applicable law, in an amount to
14
     be shown, according to proof at the time of trial to punish and deter LEMONADE from engaging in
15
     continued acts such as exhibited toward Plaintiff to others similarly situated.
16

17                                                 Prayer for Relief

18        WHEREFORE, Plaintiffs prays for judgment against Defendants, and each of them, as follows:

19          1.    For special, general, economic, emotional distress, incidental and consequential damages,
20
     according to proof;
21
            2.    Reasonable attorney fees;
22
            1.    For pre-judgment interest;
23
            2.    For costs of suit herein incurred;
24

25          3.    For punitive damages; and

26          4.    For such other and further relief as the Court may deem just and proper.

27

28

                                                       9
                                                   COMPLAINT
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 13 of 142 Page ID #:13



     DATED: June 14, 2021            MERPOUR LAW, INC.
 1

 2                                        BY:
                                          Arash Merpour
 3                                        Attorney for Plaintiff, Tina Williams
 4

 5

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                                      COMPLAINT
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 14 of 142 Page ID #:14




                        EXHIBIT A
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 15 of 142 Page ID #:15




                       You’re
                      Amazing.
         You’re now part of a special group of people, who participate in
           making history. Together, we’ll be able to make insurance an
                                     honest, simple and fun experience.


               Thanks for joining, we’re sure you’re gonna love it here :)




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   Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 16 of 142 Page ID #:16




                                                         5 Crosby St., New York, NY 10013
                                                        HOMEOWNERS POLICY DECLARATIONS




POLICY NUMBER                                    POLICY START DATE                                  POLICY EXPIRES ON

LP57346AC7                                       Mar 01, 2019 05:02pm                               Mar 01, 2020 11:59pm


NAME OF INSURED                                  INSURED PROPERTY ADDRESS                           INSURED EMAIL

Tina Williams                                    21444 Peggy Joyce Ln,                              twilliams62@live.com
                                                 Santa Clarita, CA, 91350


                                                               COVERAGE SUMMARY


 COVERAGE                                                                                                   MAXIMUM AMOUNT                       COST


 Dwelling                                                                                                       $350,000                Included

 Other Structures                                                                                                 $35,000               Included

 Personal Property                                                                                              $175,000                Included

 Loss Of Use                                                                                                    $105,000                Included

 Personal Liability                                                                                             $100,000                Included

 Medical Payments To Others                                                                                         $1,000              Included

 Changes to Your Policy (See next page)                                                                                                        $1.67

 $1,000 Deductible                                                                                                                              -$30

 Total Premium                                                                                                      $663 ($55.25/mo)




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  Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 17 of 142 Page ID #:17
                                                                     DISCOUNTS


FOR                                                                                                                                            AMOUNT


Dwelling Age                                                                                                                                      $59

Age Group                                                                                                                                         $65

Fire Protection                                                                                                                                   $14
Fire Extinguisher
Smoke Detectors

Theft Protection                                                                                                                                  $14
Deadbolts
Local Burglar Alarm


                                                                                            Total Discount                 $152.00 (Annual)




                                                             CHANGES TO YOUR POLICY


DATE                  CHANGES                                                                     FROM            TO                           PREMIUM


02 Mar, 2019          Extended Reconstruction Cost Added                                          0%              25%                   +$1.67/mo




                                                                IMPORTANT NOTES




Dwelling limit: The limit of liability for this structure (Dwelling coverage) is based on an estimate of the cost to rebuild
your home, including an approximate cost for labor and materials in your area, and specific information that you have
provided about your home.

Building code upgrade coverage: This policy provides coverage of up to 10% of the Dwelling limit for increased costs
in order to comply with building codes as a result of damage associated with a covered loss. You can find details in
your policy under Ordinance or Law.




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  Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 18 of 142 Page ID #:18
                                             ADDITIONAL DOCUMENTS ATTACHED TO THIS POLICY


Extended Reconstruction Cost

Disclosure Notice

Personal Property Replacement Cost Endorsement

Special Provisions

Workers Compensation Endorsement

Canine Liability Exclusion Endorsement

OFAC (Office Of Foreign Assets Control) Notice

Anti-Fraud Statement

Claim Reporting Rights Disclosure

Notice of Designated Additional Person




                                      Rating information - Protection Class: 4, Territory: 58, Construction: Frame

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Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 19 of 142 Page ID #:19




                                                          HOMEOWNERS POLICY




        In witness whereof, Lemonade Insurance Company has caused this policy to
                         be signed by its president and secretary.




          Daniel Schreiber                                                                                 William D. Latza
         President and CEO                                                                                    Secretary




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 Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 20 of 142 Page ID #:20


                                                                                                 HOMEOWNERS
                                                                                          LIC 00011 00 (ed. 10/16)

                       HOMEOWNERS 3 – SPECIAL FORM
AGREEMENT                                                       2. "Bodily injury" means physical injury,
                                                                   sickness, or disease to a person. This includes
We will provide the insurance described in this policy             required care, loss of services and death
in return for the premium and compliance with all                  resulting therefrom.
applicable provisions of this policy.
DEFINITIONS                                                       “Bodily injury” does not include:
A. In this policy, "you" and "your" refer to the "named
   insured" shown in the Declarations and the                     a. any of the following which are communicable:
   spouse if a resident of the same household. "We",                disease, bacteria, parasite, virus, or other
   "us" and "our" refer to the Company providing this               organism, any of which are transmitted by any
   insurance.                                                       “insured” to any other person;
B. In addition, certain words and phrases are defined             b. the exposure to any such disease, bacteria,
   as follows:                                                      parasite, virus, or other organism by any
   1. "Aircraft Liability", "Hovercraft Liability", "Motor          “insured” to any other person; or
      Vehicle Liability" and "Watercraft Liability",
      subject to the provisions in b. below, mean the             c. emotional      distress,    mental     anguish,
      following:                                                    humiliation, mental distress, mental injury, or
                                                                    any similar injury unless it arises out of actual
       a. Liability for "bodily injury" or "property                physical injury to some person.
          damage" arising out of the:
         (1) Ownership of such vehicle or craft by an           3. "Business" means:
             "insured";                                            a. A trade, profession or occupation engaged
         (2) Maintenance, occupancy, operation,                       in on a full-time, part-time or occasional
             use, loading or unloading of such                        basis; or
             vehicle or craft by any person;                       b. Any other activity engaged in for money or
         (3) Entrustment of such vehicle or craft by                  other compensation, except the following:
             an "insured" to any person;                              (1) One or more activities, not described in
         (4) Failure to supervise or negligent                            (2) through (4) below, for which no
             supervision of any person involving                          "insured" receives more than $2,000 in
             such vehicle or craft by an "insured"; or                    total compensation for the 12 months
                                                                          before the beginning of the policy
         (5) Vicarious liability, whether or not                          period;
             imposed by law, for the actions of a
             child or minor involving such vehicle or                 (2) Volunteer activities for which no money
             craft.                                                       is received other than payment for
                                                                          expenses incurred to perform the
      b. For the purpose of this definition:                              activity;
         (1) Aircraft means any contrivance used or                   (3) Providing home day care services for
             designed for flight except model or                          which no compensation is received,
             hobby aircraft not used or designed to                       other than the mutual exchange of such
             carry people or cargo;                                       services; or
         (2) Hovercraft means a self-propelled                        (4) The rendering of home day care
             motorized ground effect vehicle and                          services to a relative of an "insured".
             includes, but is not limited to, flarecraft
             and air cushion vehicles;                          4. "Employee" means an employee of an
                                                                   "insured", or an employee leased to an
         (3) Watercraft means a craft principally                  "insured" by a labor leasing firm under an
             designed to be propelled on or in water               agreement between an "insured" and the labor
             by wind, engine power or electric motor;              leasing firm, whose duties are other than those
             and                                                   performed by a "residence employee".
         (4) Motor vehicle means a "motor vehicle"              5. "Insured" means:
             as defined in 7. below.




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Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 21 of 142 Page ID #:21


                                                                                                  HOMEOWNERS
                                                                                           LIC 00011 00 (ed. 10/16)

      a. You and residents of your household who                    (1) Not owned by an "insured"; and
         are:                                                       (2) Where an          "insured"   is     temporarily
        (1) Your relatives; or                                          residing;
        (2) Other persons under the age of 21 and                e. Vacant land, other than farm land, owned
            in your care or the care of a resident of               by or rented to an "insured";
            your household who is your relative;                  f. Land owned by or rented to an "insured" on
      b. A student enrolled in school full-time, as                  which a one-, two-, three- or four-family
         defined by the school, who was a resident                   dwelling is being built as a residence for an
         of your household before moving out to                      "insured";
         attend school, provided the student is                  g. Individual or family cemetery plots or burial
         under the age of:                                          vaults of an "insured"; or
        (1) 24 and your relative; or                             h. Any part of a premises occasionally rented
        (2) 21 and in your care or the care of a                    to an "insured" for other than "business"
            resident of your household who is your                  use.
            relative; or                                      7. "Motor vehicle" means:
      c. Under Section II:                                       a. A self-propelled land or amphibious vehicle;
        (1) With respect to animals or watercraft to                or
            which this policy applies, any person or             b. Any trailer or semitrailer which is being
            organization legally responsible for                    carried on, towed by or hitched for towing
            these animals or watercraft which are                   by a vehicle described in a. above.
            owned by you or any person described
            in 5.a. or b. "Insured" does not mean a           8. "Occurrence" means an accident, including
            person or organization using or having               continuous    or  repeated     exposure   to
            custody of these animals or watercraft               substantially the same general harmful
            in the course of any "business" or                   conditions, which results, during the policy
            without consent of the owner; or                     period, in:
        (2) With respect to a "motor vehicle" to                 a. "Bodily injury"; or
            which this policy applies:                           b. "Property damage".
            (a) Persons while engaged in your                 9. "Property damage" means physical injury to,
                employ or that of any person                     destruction of, or loss of use of tangible
                described in 5.a. or b.; or                      property.
           (b) Other persons using the vehicle on            10. "Residence employee" means:
               an "insured location" with your                   a. An employee of an "insured", or an
               consent.                                             employee leased to an "insured" by a labor
      Under both Sections I and II, when the word an                leasing firm, under an agreement between
      immediately precedes the word "insured", the                  an "insured" and the labor leasing firm,
      words an "insured" together mean one or more                  whose duties are related to the
      "insureds".                                                   maintenance or use of the "residence
   6. "Insured location" means:                                     premises", including household or domestic
                                                                    services; or
      a. The "residence premises";
                                                                 b. One who performs similar duties elsewhere
      b. The part of other premises, other structures               not related to the "business" of an
         and grounds used by you as a residence;                    "insured".
         and
                                                                 A "residence employee" does not include a
        (1) Which is shown in the Declarations; or               temporary employee who is furnished to an
        (2) Which is acquired by you during the                  "insured" to substitute for a permanent
            policy period for your use as a                      "residence employee" on leave or to meet
            residence;                                           seasonal or short-term workload conditions.
      c. Any premises used by you in connection
         with a premises described in a. and b.              11. "Residence premises" means the dwelling,
         above;                                                  other structures and land located at the
      d. Any part of a premises:                                 address stated on the Policy Declarations.



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Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 22 of 142 Page ID #:22


                                                                                                 HOMEOWNERS
                                                                                          LIC 00011 00 (ed. 10/16)

SECTION I – PROPERTY COVERAGES                                     b. A guest or a "residence employee", while
A. Coverage A – Dwelling                                              the property is in any residence occupied
                                                                      by an "insured".
   1. We cover:
                                                                2. Limit For Property At Other Locations
      a. The dwelling on the "residence premises"
         shown in the Declarations, including                      a. Other Residences
         structures attached to the dwelling; and                      Our limit of liability for personal property
      b. Materials and supplies located on or next to                  usually located at an "insured's" residence,
         the "residence premises" used to construct,                   other than the "residence premises", is
         alter or repair the dwelling or other                         10% of the limit of liability for Coverage C,
         structures on the "residence premises".                       or $1,000, whichever is greater. However,
                                                                       this limitation does not apply to personal
   2. We do not cover land, including land on which                    property:
      the dwelling is located.
                                                                      (1) Moved from the "residence premises"
B. Coverage B – Other Structures                                          because it is:
   1. We cover other structures on the "residence                        (a) Being repaired, renovated or rebuilt;
      premises" set apart from the dwelling by clear                         and
      space. This includes structures connected to
      the dwelling by only a fence, utility line, or                     (b) Not fit to live in or store property in;
      similar connection.                                                    or
   2. We do not cover:                                                (2) In a newly acquired principal residence
                                                                          for 30 days from the time you begin to
      a. Land, including land on which the other                          move the property there.
         structures are located;
                                                                   b. Self-storage Facilities
      b. Other structures rented or held for rental to
         any person not a tenant of the dwelling,                      Our limit of liability for personal property
         unless used solely as a private garage;                       owned or used by an "insured" and located
                                                                       in a self-storage facility is 10% of the limit
      c. Other structures from which any "business"                    of liability for Coverage C, or $1,000,
         is conducted; or                                              whichever is greater. However, this
      d. Other structures used to store "business"                     limitation does not apply to personal
         property. However, we do cover a structure                    property:
         that contains "business" property solely                     (1) Moved from the "residence premises"
         owned by an "insured" or a tenant of the                         because it is:
         dwelling, provided that "business" property
         does not include gaseous or liquid fuel,                        (a) Being repaired, renovated or rebuilt;
         other than fuel in a permanently installed                          and
         fuel tank of a vehicle or craft parked or                       (b) Not fit to live in or store property in;
         stored in the structure.                                            or
   3. The limit of liability for this coverage will not be            (2) Usually located in an "insured's"
      more than 10% of the limit of liability that                        residence, other than the "residence
      applies to Coverage A. Use of this coverage                         premises".
      does not reduce the Coverage A limit of                   3. Special Limits Of Liability
      liability.
                                                                   The special limit for each category shown
C. Coverage C – Personal Property                                  below is the total limit for each loss for all
   1. Covered Property                                             property in that category. These special limits
      We cover personal property owned or used by                  do not increase the Coverage C limit of liability.
      an "insured" while it is anywhere in the world.              a. $200 on money, bank notes, bullion, gold
      After a loss and at your request, we will cover                 other than goldware, silver other than
      personal property owned by:                                     silverware,    platinum      other    than
      a. Others while the property is on the part of                  platinumware, coins, medals, scrip, stored
         the "residence premises" occupied by an                      value cards and smart cards.
         "insured"; or




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Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 23 of 142 Page ID #:23


                                                                                                HOMEOWNERS
                                                                                         LIC 00011 00 (ed. 10/16)

      b. $1,500 on securities, accounts, deeds,                      (1) Used with electronic equipment that
         evidences of debt, letters of credit, notes                     reproduces, receives or transmits audio,
         other than bank notes, manuscripts,                             visual or data signals; and
         personal records, passports, tickets and                    (2) In or upon a "motor vehicle".
         stamps. This dollar limit applies to these
         categories regardless of the medium (such             4. Property Not Covered
         as paper or computer software) on which                  We do not cover:
         the material exists.                                     a. Articles     separately    described    and
         This limit includes the cost to research,                   specifically insured, regardless of the limit
         replace or restore the information from the                 for which they are insured, in this or other
         lost or damaged material.                                   insurance;
      c. $1,500 on watercraft of all types, including             b. Animals, birds or fish;
         their trailers, furnishings, equipment and               c. "Motor vehicles".
         outboard engines or motors.
                                                                      This includes a "motor vehicle's" equipment
      d. $1,500 on trailers or semitrailers not used                  and parts. However, this Paragraph 4.c.
         with watercraft of all types.                                does not apply to:
      e. $1,500 for loss by theft of jewelry, watches,               (1) Portable electronic equipment that:
         furs, precious and semiprecious stones.
                                                                        (a) Reproduces, receives or transmits
      f. $2,500 for loss by theft of firearms and                           audio, visual or data signals; and
         related equipment.
                                                                        (b) Is designed so that it may be
      g. $2,500 for loss by theft of silverware, silver-                    operated from a power source other
         plated ware, goldware, gold-plated ware,                           than a "motor vehicle's" electrical
         platinumware, platinum-plated ware and                             system.
         pewterware.     This     includes    flatware,
         hollowware, tea sets, trays and trophies                    (2) "Motor vehicles" not required to be
         made of or including silver, gold or pewter.                    registered for use on public roads or
                                                                         property which are:
      h. $2,500 on property, on the "residence
         premises", used primarily for "business"                       (a) Used solely to service a residence;
         purposes.                                                          or
       i. $1,500 on property, away from the                             (b) Designed to assist the handicapped;
          "residence premises", used primarily for                d. Aircraft, meaning any contrivance used or
          "business" purposes. However, this limit                   designed for flight, including any parts
          does not apply to antennas, tapes, wires,                  whether or not attached to the aircraft.
          records, disks or other media that are:
                                                                      We do cover model or hobby aircraft not
        (1) Used with electronic equipment that                       used or designed to carry people or cargo;
            reproduces, receives or transmits audio,
                                                                  e. Hovercraft and parts. Hovercraft means a
            visual or data signals; and
                                                                     self-propelled motorized ground effect
        (2) In or upon a "motor vehicle".                            vehicle and includes, but is not limited to,
       j. $1,500 on portable electronic equipment                    flarecraft and air cushion vehicles;
          that:                                                    f. Property of roomers, boarders and other
        (1) Reproduces, receives or            transmits              tenants, except property of roomers and
            audio, visual or data signals;                            boarders related to an "insured";
        (2) Is designed to be operated by more                    g. Property in an apartment regularly rented
            than one power source, one of which is                   or held for rental to others by an "insured",
            a "motor vehicle's" electrical system;                   except as provided in E.10. Landlord's
            and                                                      Furnishings under Section I – Property
                                                                     Coverages;
        (3) Is in or upon a "motor vehicle".
                                                                  h. Property rented or held for rental to others
      k. $250 for antennas, tapes, wires, records,                   off the "residence premises";
         disks or other media that are:
                                                                   i. "Business" data, including such data stored
                                                                      in:




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Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 24 of 142 Page ID #:24


                                                                                                 HOMEOWNERS
                                                                                          LIC 00011 00 (ed. 10/16)

         (1) Books of account, drawings or other
             paper records; or                                   In no event shall our payment for additional
         (2) Computers and related equipment.                    living expenses exceed the Limit Of Liability
                                                                 shown on your Policy Declarations for
          We do cover the cost of blank recording or
                                                                 Additional Living Expense.
          storage media and of prerecorded
          computer programs available on the retail
                                                                 We do not cover any lost income or expense due
          market;
                                                                 to the cancellation of a lease or agreement.
       j. Credit cards, electronic fund transfer cards
          or access devices used solely for deposit,             No deductible applies to this protection.
          withdrawal or transfer of funds except as
          provided in E.6. Credit Card, Electronic
          Fund Transfer Card Or Access Device,
          Forgery And Counterfeit Money under                   2. Fair Rental Value
          Section I – Property Coverages; or                       If a loss covered under Section I makes that
      k. Water or steam.                                           part of the "residence premises" rented to
                                                                   others or held for rental by you not fit to live in,
D. Coverage D – Loss Of Use                                        we will cover its fair rental value. Payment
   The limit of liability for Coverage D is the total limit        shall be for the shortest time required to repair
   for the coverages in 1. Additional Living Expense,              or replace the part of the premises rented or
   2. Fair Rental Value and 3. Civil Authority                     held for rental, but not to exceed 12 months.
   Prohibits Use below.                                            This period of time is not limited by expiration
   1. Additional Living Expense                                    of this policy. Fair rental value shall not include
   If a loss covered under Section I makes                         any expense that does not continue while that
                                                                   part of the “residence premises” rented or held
   that part of the "residence premises" where
                                                                   for rental is uninhabitable.
   you reside not fit to live in, we will pay the
   reasonable increase in living expenses
   necessary to maintain your normal                            3. Civil Authority Prohibits Use
   standard of living when a direct physical                       If a civil authority prohibits you from use of the
   loss we cover under Coverage A -                                "residence premises" as a result of direct
   Dwelling, Coverage B - Other Structures or                      damage to neighboring premises by a Peril
   Coverage C - Personal Property makes                            Insured Against, we cover the loss as provided
   your “residence premises” uninhabitable.                        in 1. Additional Living Expense and 2. Fair
                                                                   Rental Value above for no more than two
    However, additional living expense due to                      weeks.
   remediation of mold, fungus, wet rot or dry
   rot will not be paid in addition to any
                                                                   However, payments for additional living
   amounts paid or payable under Section I –
                                                                   expense due to remediation of mold, fungus,
   Perils Insured Against, A. 2. c. (5)(a) & (b).
                                                                   wet rot or dry rot will not be paid in addition to
                                                                   any amounts paid or payable under Section I –
   Payment for additional living expense as a
                                                                   Perils Insured Against, A. 2. c. (5)(a) & (b).
   result of a covered loss under Coverage A -
                                                                   The two-week period of time referenced above
   Dwelling, Coverage B - Other Structures or
                                                                   is not limited by the termination of this policy.
   Coverage C - Personal Property will be
   limited to the least of the following:                          No deductible applies to this protection.
   a) the time period required to repair or
        replace the property we cover, using due                4. Loss Or Expense Not Covered
        diligence and dispatch;
   b) if you permanently relocate, the shortest                    We do not cover loss or expense due to
        time for your household to settle                          cancellation of a lease or agreement.
        elsewhere; or                                           The periods of time under 1. Additional Living
   c) 12 months.                                                Expense, 2. Fair Rental Value and 3. Civil
                                                                Authority Prohibits Use above are not limited by
   These periods of time are not limited by                     expiration of this policy.
   the termination of this policy.



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Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 25 of 142 Page ID #:25


                                                                                                HOMEOWNERS
                                                                                         LIC 00011 00 (ed. 10/16)

E. Additional Coverages                                       2. Reasonable Repairs
   1. Debris Removal                                              a. We will pay the reasonable cost incurred by
      a. We will pay your reasonable expense for                     you for the necessary measures taken
         the removal of:                                             solely to protect covered property that is
                                                                     damaged by a Peril Insured Against from
        (1) Debris of covered property if a Peril                    further damage.
            Insured Against that applies to the
            damaged property causes the loss; or                 b. If the measures taken involve repair to
                                                                    other damaged property, we will only pay if
        (2) Ash, dust or particles from a volcanic                  that property is covered under this policy
            eruption that has caused direct loss to a               and the damage is caused by a Peril
            building or property contained in a                     Insured Against. This coverage does not:
            building.
                                                                    (1) Increase the limit of liability that applies
         This expense is included in the limit of                       to the covered property; or
         liability that applies to the damaged
         property. If the amount to be paid for the                 (2) Relieve you of your duties, in case of a
         actual damage to the property plus the                         loss to covered property, described in
         debris removal expense is more than the                        C.4. under Section I – Conditions.
         limit of liability for the damaged property,         3. Trees, Shrubs And Other Plants
         an additional 5% of that limit is available for         We cover trees, shrubs, plants or lawns, on the
         such expense.                                           "residence premises", for loss caused by the
      b. We will also pay your reasonable expense,               following Perils Insured Against:
         up to $1,000, for the removal from the                  a. Fire or Lightning;
         "residence premises" of:
                                                                 b. Explosion;
        (1) Your trees felled by the peril of
            Windstorm or Hail or Weight of Ice,                  c. Riot or Civil Commotion;
            Snow or Sleet; or                                    d. Aircraft;
        (2) A neighbor's trees felled by a Peril                 e. Vehicles not owned or operated by a
            Insured Against under Coverage C;                       resident of the "residence premises";
         provided the trees:                                      f. Vandalism or Malicious Mischief; or
        (3) Damage a covered structure; or                       g. Theft.
        (4) Do not damage a covered structure,                   We will pay up to 5% of the limit of liability that
            but:                                                 applies to the dwelling for all trees, shrubs,
           (a) Block a driveway on the "residence                plants or lawns. No more than $500 of this limit
               premises" which prevents a "motor                 will be paid for any one tree, shrub or plant.
               vehicle", that is registered for use on           We do not cover property grown for "business"
               public roads or property, from                    purposes.
               entering or leaving the "residence                This coverage is additional insurance.
               premises"; or
                                                              4. Fire Department Service Charge
           (b) Block a ramp or other fixture                     We will pay up to $500 for your liability
               designed to assist a handicapped                  assumed by contract or agreement for fire
               person to enter or leave the dwelling             department charges incurred when the fire
               building.                                         department is called to save or protect covered
         The $1,000 limit is the most we will pay in             property from a Peril Insured Against. We do
         any one loss, regardless of the number of               not cover fire department service charges if the
         fallen trees. No more than $500 of this limit           property is located within the limits of the city,
         will be paid for the removal of any one tree.           municipality or protection district furnishing the
         This coverage is additional insurance.                  fire department response.
                                                                 This coverage is additional insurance. No
                                                                 deductible applies to this coverage.




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Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 26 of 142 Page ID #:26


                                                                                                HOMEOWNERS
                                                                                         LIC 00011 00 (ed. 10/16)

   5. Property Removed                                              (1) We may investigate and settle any claim
      We insure covered property against direct loss                    or suit that we decide is appropriate.
      from any cause while being removed from a                         Our duty to defend a claim or suit ends
      premises endangered by a Peril Insured                            when the amount we pay for the loss
      Against and for no more than 30 days while                        equals our limit of liability.
      removed.                                                      (2) If a suit is brought against an "insured"
      This coverage does not change the limit of                        for liability under a.(1) or (2) above, we
      liability that applies to the property being                      will provide a defense at our expense by
      removed.                                                          counsel of our choice.
   6. Credit Card, Electronic Fund Transfer Card                    (3) We have the option to defend at our
      Or Access Device, Forgery And Counterfeit                         expense an "insured" or an "insured's"
      Money                                                             bank against any suit for the
                                                                        enforcement of payment under a.(3)
      a. We will pay up to $500 for:                                    above.
        (1) The legal obligation of an "insured" to           7. Loss Assessment
            pay because of the theft or
            unauthorized use of credit cards issued              a. We will pay up to $1,000 for your share of
            to or registered in an "insured's" name;                loss assessment charged during the policy
                                                                    period against you, as owner or tenant of
        (2) Loss     resulting    from    theft    or               the "residence premises", by a corporation
            unauthorized use of an electronic fund                  or association of property owners. The
            transfer card or access device used for                 assessment must be made as a result of
            deposit, withdrawal or transfer of funds,               direct loss to property, owned by all
            issued to or registered in an "insured's"               members collectively, of the type that would
            name;                                                   be covered by this policy if owned by you,
        (3) Loss to an "insured" caused by forgery                  caused by a Peril Insured Against under
            or alteration of any check or negotiable                Coverage A, other than:
            instrument; and                                         (1) Earthquake; or
        (4) Loss    to   an   "insured"   through                   (2) Land shock waves or tremors before,
            acceptance in good faith of counterfeit                     during or after a volcanic eruption.
            United States or Canadian paper
            currency.                                                The limit of $1,000 is the most we will pay
                                                                     with respect to any one loss, regardless of
         All loss resulting from a series of acts                    the number of assessments. We will only
         committed by any one person or in which                     apply one deductible, per unit, to the total
         any one person is concerned or implicated                   amount of any one loss to the property
         is considered to be one loss.                               described above, regardless of the number
         This coverage is additional insurance. No                   of assessments.
         deductible applies to this coverage.                    b. We do not cover assessments charged
      b. We do not cover:                                           against you or a corporation or association
                                                                    of property owners by any governmental
        (1) Use of a credit card, electronic fund
                                                                    body.
            transfer card or access device:
                                                                 c. Paragraph Q. Policy Period under Section I
           (a) By a resident of your household;
                                                                    – Conditions does not apply to this
           (b) By a person who has been entrusted                   coverage.
               with either type of card or access
                                                                 This coverage is additional insurance.
               device; or
                                                              8. Collapse
           (c) If an "insured" has not complied with
               all terms and conditions under which              a. The coverage provided under this
               the cards are issued or the devices                  Additional Coverage – Collapse applies
               accessed; or                                         only to an abrupt collapse.
        (2) Loss arising out of "business" use or
            dishonesty of an "insured".
      c. If the coverage in a. above applies, the
         following defense provisions also apply:



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Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 27 of 142 Page ID #:27


                                                                                               HOMEOWNERS
                                                                                        LIC 00011 00 (ed. 10/16)

      b. For the purpose of this Additional Coverage               f. This coverage does not increase the limit of
         – Collapse, abrupt collapse means an                         liability that applies to the damaged
         abrupt falling down or caving in of a                        covered property.
         building or any part of a building with the           9. Glass Or Safety Glazing Material
         result that the building or part of the
         building cannot be occupied for its intended             a. We cover:
         purpose.                                                    (1) The breakage of glass or safety glazing
      c. This Additional Coverage – Collapse does                        material which is part of a covered
         not apply to:                                                   building, storm door or storm window;
        (1) A building or any part of a building that                (2) The breakage of glass or safety glazing
            is in danger of falling down or caving in;                   material which is part of a covered
                                                                         building, storm door or storm window
        (2) A part of a building that is standing,                       when caused directly by earth
            even if it has separated from another                        movement; and
            part of the building; or
                                                                     (3) The direct physical loss to covered
        (3) A building or any part of a building that                    property caused solely by the pieces,
            is standing, even if it shows evidence of                    fragments or splinters of broken glass or
            cracking, bulging, sagging, bending,                         safety glazing material which is part of a
            leaning,     settling,    shrinkage    or                    building, storm door or storm window.
            expansion.
                                                                  b. This coverage does not include loss:
      d. We insure for direct physical loss to
         covered property involving abrupt collapse                  (1) To covered property which results
         of a building or any part of a building if such                 because the glass or safety glazing
         collapse was caused by one or more of the                       material has been broken, except as
         following:                                                      provided in a.(3) above; or
        (1) The Perils Insured Against named                         (2) On the "residence premises" if the
            under Coverage C;                                            dwelling has been vacant for more than
                                                                         60 consecutive days immediately before
        (2) Decay, of a building or any part of a                        the loss, except when the breakage
            building, that is hidden from view,                          results directly from earth movement as
            unless the presence of such decay is                         provided in a.(2) above. A dwelling
            known to an "insured" prior to collapse;                     being constructed is not considered
        (3) Insect or vermin damage, to a building                       vacant.
            or any part of a building, that is hidden             c. This coverage does not increase the limit of
            from view, unless the presence of such                   liability that applies to the damaged
            damage is known to an "insured" prior                    property.
            to collapse;
                                                              10. Landlord's Furnishings
        (4) Weight of contents, equipment, animals
            or people;                                            We will pay up to $2,500 for your appliances,
                                                                  carpeting and other household furnishings, in
        (5) Weight of rain which collects on a roof;              each apartment on the "residence premises"
            or                                                    regularly rented or held for rental to others by
        (6) Use of defective material or methods in               an "insured", for loss caused by a Peril Insured
            construction, remodeling or renovation if             Against in Coverage C, other than Theft.
            the collapse occurs during the course of              This limit is the most we will pay in any one
            the    construction,   remodeling     or              loss regardless of the number of appliances,
            renovation.                                           carpeting or other household furnishings
      e. Loss to an awning, fence, patio, deck,                   involved in the loss.
         pavement, swimming pool, underground                     This coverage does not increase the limit of
         pipe, flue, drain, cesspool, septic tank,                liability applying to the damaged property.
         foundation, retaining wall, bulkhead, pier,
         wharf or dock is not included under d.(2)
         through (6) above, unless the loss is a
         direct result of the collapse of a building or
         any part of a building.



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Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 28 of 142 Page ID #:28


                                                                                              HOMEOWNERS
                                                                                       LIC 00011 00 (ed. 10/16)

  11. Ordinance Or Law                                       12. Grave Markers
      a. You may use up to 10% of the limit of                   We will pay up to $5,000 for grave markers,
         liability that applies to Coverage A for the            including mausoleums, on or away from the
         increased costs you incur due to the                    "residence premises" for loss caused by a Peril
         enforcement of any ordinance or law which               Insured Against under Coverage C.
         requires or regulates:                                  This coverage does not increase the limits of
        (1) The       construction,     demolition,              liability that apply to the damaged covered
            remodeling, renovation or repair of that             property.
            part of a covered building or other              13. Power Interruption
            structure damaged by a Peril Insured                 We will pay up to $500 for loss to the contents
            Against;                                             of freezers and refrigerated units on the
        (2) The demolition and reconstruction of the             “residence    premises”     caused    by    the
            undamaged part of a covered building                 interruption of power which occurs off the
            or other structure, when that building or            residence premises. If a power interruption is
            other structure must be totally                      known to an insured person, all reasonable
            demolished because of damage by a                    means must be used to protect the contents of
            Peril Insured Against to another part of             freezers and refrigerated units.
            that covered building or other structure;
            or                                                   This coverage does not increase the limit of
        (3) The       remodeling,     removal    or              liability applying to the damaged property.
            replacement of the portion of the
            undamaged part of a covered building
            or other structure necessary to
                                                           SECTION I – PERILS INSURED AGAINST
            complete the remodeling, repair or
            replacement of that part of the covered        A. Coverage A – Dwelling And Coverage B –
            building or other structure damaged by            Other Structures
            a Peril Insured Against.                          1. We insure against direct physical loss to
      b. You may use all or part of this ordinance or            property described in Coverages A and B.
         law coverage to pay for the increased costs          2. We do not insure, however, for loss:
         you incur to remove debris resulting from
         the construction, demolition, remodeling,               a. Excluded under Section I – Exclusions;
         renovation, repair or replacement of                    b. Involving collapse, including any of the
         property as stated in a. above.                            following conditions of property or any part
      c. We do not cover:                                           of the property:
        (1) The loss in value to any covered                        (1) An abrupt falling down or caving in;
            building or other structure due to the                  (2) Loss of structural integrity, including
            requirements of any ordinance or law;                       separation of parts of the property or
            or                                                          property in danger of falling down or
        (2) The costs to comply with any ordinance                      caving in; or
            or law which requires any "insured" or                  (3) Any      cracking, bulging,      sagging,
            others to test for, monitor, clean up,                      bending, leaning, settling, shrinkage or
            remove, contain, treat, detoxify or                         expansion as such condition relates to
            neutralize, or in any way respond to, or                    (1) or (2) above;
            assess the effects of, pollutants in or on               except as provided in E.8. Collapse under
            any covered building or other structure.                 Section I – Property Coverages; or
            Pollutants means any solid, liquid,                  c. Caused by:
            gaseous     or   thermal    irritant  or
            contaminant, including smoke, vapor,
            soot, fumes, acids, alkalis, chemicals
            and waste. Waste includes materials to
            be recycled, reconditioned or reclaimed.
      This coverage is additional insurance.




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Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 29 of 142 Page ID #:29


                                                                                              HOMEOWNERS
                                                                                       LIC 00011 00 (ed. 10/16)

     (1) Freezing of a plumbing, heating, air                       (5) Mold, fungus or wet rot. However, we
         conditioning or automatic fire protective                      do insure for loss caused by mold,
         sprinkler system or of a household                             fungus or wet rot that is hidden within
         appliance, or by discharge, leakage or                         the walls or ceilings or beneath the
         overflow from within the system or                             floors or above the ceilings of a
         appliance caused by freezing. This                             structure if such loss results from the
         provision does not apply if you have used                      accidental discharge or overflow of
         reasonable care to:                                            water or steam from within:
           (a) Maintain heat in the building; or                       (a) A plumbing, heating, air conditioning
           (b) Shut off the water supply and drain                         or automatic fire protective sprinkler
               all systems and appliances of water.                        system, or a household appliance,
                                                                           on the "residence premises"; or
            However, if the building is protected by
            an automatic fire protective sprinkler                     (b) A storm drain, or water, steam or
            system, you must use reasonable care                           sewer pipes, off the "residence
            to continue the water supply and                               premises".
            maintain heat in the building for                           For purposes of this provision, a
            coverage to apply.                                          plumbing      system     or  household
            For purposes of this provision, a                           appliance does not include a sump,
            plumbing      system    or   household                      sump pump or related equipment or a
            appliance does not include a sump,                          roof drain, gutter, downspout or similar
            sump pump or related equipment or a                         fixtures or equipment; or
            roof drain, gutter, downspout or similar                (6) Any of the following:
            fixtures or equipment;                                     (a) Wear       and       tear,    marring,
        (2) Freezing, thawing, pressure or weight of                       deterioration;
            water or ice, whether driven by wind or                    (b) Mechanical      breakdown,      latent
            not, to a:                                                     defect, inherent vice or any quality in
           (a) Fence, pavement, patio or swimming                          property that causes it to damage or
               pool;                                                       destroy itself;
           (b) Footing, foundation, bulkhead, wall,                    (c) Smog, rust or other corrosion, or dry
               or any other structure or device that                       rot;
               supports all or part of a building, or                  (d) Smoke from agricultural smudging or
               other structure;                                            industrial operations;
           (c) Retaining wall or bulkhead that does                    (e) Discharge,     dispersal,    seepage,
               not support all or part of a building or                    migration, release or escape of
               other structure; or                                         pollutants unless the discharge,
           (d) Pier, wharf or dock;                                        dispersal,    seepage,      migration,
        (3) Theft in or to a dwelling under                                release or escape is itself caused by
            construction, or of materials and                              a Peril Insured Against named under
            supplies for use in the construction until                     Coverage C.
            the dwelling is finished and occupied;                          Pollutants means any solid, liquid,
        (4) Vandalism and malicious mischief, and                           gaseous or thermal irritant or
            any ensuing loss caused by any                                  contaminant,     including  smoke,
            intentional and wrongful act committed                          vapor, soot, fumes, acids, alkalis,
            in the course of the vandalism or                               chemicals    and     waste.  Waste
            malicious mischief, if the dwelling has                         includes materials to be recycled,
            been vacant for more than 60                                    reconditioned or reclaimed;
            consecutive days immediately before                         (f) Settling, shrinking, bulging or
            the loss. A dwelling being constructed is                       expansion,       including  resultant
            not considered vacant;                                          cracking, of bulkheads, pavements,
                                                                            patios, footings, foundations, walls,
                                                                            floors, roofs or ceilings;
                                                                       (g) Birds, rodents or insects;



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Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 30 of 142 Page ID #:30


                                                                                               HOMEOWNERS
                                                                                        LIC 00011 00 (ed. 10/16)

            (h) Nesting or infestation, or discharge          1. Fire Or Lightning
                or release of waste products or               2. Windstorm Or Hail
                secretions, by any animals; or
                                                                 This peril includes loss to watercraft of all
            (i) Animals owned or kept by an                      types and their trailers, furnishings, equipment,
                "insured".                                       and outboard engines or motors, only while
         Exception To c.(6)                                      inside a fully enclosed building.
         Unless the loss is otherwise excluded, we               This peril does not include loss to the property
         cover loss to property covered under                    contained in a building caused by rain, snow,
         Coverage A or B resulting from an                       sleet, sand or dust unless the direct force of
         accidental discharge or overflow of water or            wind or hail damages the building causing an
         steam from within a:                                    opening in a roof or wall and the rain, snow,
                (i) Storm drain, or water, steam or              sleet, sand or dust enters through this opening.
                    sewer pipe, off the "residence            3. Explosion
                    premises"; or                             4. Riot Or Civil Commotion
               (ii) Plumbing,        heating,       air       5. Aircraft
                    conditioning or automatic fire
                    protective sprinkler system or               This peril includes self-propelled missiles and
                    household appliance on the                   spacecraft.
                    "residence     premises".      This       6. Vehicles
                    includes the cost to tear out and         7. Smoke
                    replace any part of a building, or
                    other structure, on the "residence           This peril means sudden and accidental
                    premises",     but    only    when           damage from smoke, including the emission or
                    necessary to repair the system or            puffback of smoke, soot, fumes or vapors from
                    appliance. However, such tear                a boiler, furnace or related equipment.
                    out and replacement coverage                 This peril does not include loss caused by
                    only applies to other structures if          smoke from agricultural smudging or industrial
                    the water or steam causes actual             operations.
                    damage to a building on the
                                                              8. Vandalism Or Malicious Mischief
                    "residence premises".
                                                              9. Theft
         We do not cover loss to the system or
         appliance from which this water or steam                a. This peril includes attempted theft and loss
         escaped.                                                   of property from a known place when it is
                                                                    likely that the property has been stolen.
         For purposes of this provision, a plumbing
         system or household appliance does not                  b. This peril does not include loss caused by
         include a sump, sump pump or related                       theft:
         equipment or a roof drain, gutter,                         (1) Committed by an "insured";
         downspout or similar fixtures or equipment.
                                                                    (2) In or to a dwelling under construction, or
      Section I – Exclusion A.3. Water, Paragraphs                      of materials and supplies for use in the
      a. and c. that apply to surface water and water                   construction until the dwelling is finished
      below the surface of the ground do not apply to                   and occupied;
      loss by water covered under c.(5) and (6)
      above.                                                        (3) From that part of a "residence
                                                                        premises" rented by an "insured" to
      Under 2.b. and c. above, any ensuing loss to                      someone other than another "insured";
      property described in Coverages A and B not                       or
      precluded by any other provision in this policy
      is covered.                                                   (4) That occurs          off   the   "residence
                                                                        premises" of:
B. Coverage C – Personal Property
                                                                         (a) Trailers, semitrailers and campers;
   We insure for direct physical loss to the property
   described in Coverage C caused by any of the                          (b) Watercraft of all types, and their
   following perils unless the loss is excluded in                           furnishings, equipment and outboard
   Section I – Exclusions.                                                   engines or motors; or




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Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 31 of 142 Page ID #:31


                                                                                               HOMEOWNERS
                                                                                        LIC 00011 00 (ed. 10/16)

            (c) Property while at any other                   13. Sudden And Accidental Tearing Apart,
                residence owned by, rented to, or                 Cracking, Burning Or Bulging
                occupied by an "insured", except                  This peril means sudden and accidental
                while an "insured" is temporarily                 tearing apart, cracking, burning or bulging of a
                living there. Property of an "insured"            steam or hot water heating system, an air
                who is a student is covered while at              conditioning or automatic fire protective
                the residence the student occupies                sprinkler system, or an appliance for heating
                to attend school as long as the                   water.
                student has been there at any time
                during the 90 days immediately                    We do not cover loss caused by or resulting
                before the loss.                                  from freezing under this peril.
  10. Falling Objects                                         14. Freezing
      This peril does not include loss to property                a. This peril means freezing of a plumbing,
      contained in a building unless the roof or an                  heating, air conditioning or automatic fire
      outside wall of the building is first damaged by               protective sprinkler system or of a
      a falling object. Damage to the falling object                 household appliance, but only if you have
      itself is not included.                                        used reasonable care to:
  11. Weight Of Ice, Snow Or Sleet                                   (1) Maintain heat in the building; or
      This peril means weight of ice, snow or sleet                  (2) Shut off the water supply and drain all
      which causes damage to property contained in                       systems and appliances of water.
      a building.                                                     However, if the building is protected by an
  12. Accidental Discharge Or Overflow Of Water                       automatic fire protective sprinkler system,
      Or Steam                                                        you must use reasonable care to continue
                                                                      the water supply and maintain heat in the
      a. This peril means accidental discharge or                     building for coverage to apply.
         overflow of water or steam from within a
         plumbing, heating, air conditioning or                   b. In this peril, a plumbing system or
         automatic fire protective sprinkler system or               household appliance does not include a
         from within a household appliance.                          sump, sump pump or related equipment or
                                                                     a roof drain, gutter, downspout or similar
      b. This peril does not include loss:                           fixtures or equipment.
        (1) To the system or appliance from which             15. Sudden And Accidental Damage From
            the water or steam escaped;                           Artificially Generated Electrical Current
        (2) Caused by or resulting from freezing                  This peril does not include loss to tubes,
            except as provided in Peril Insured                   transistors, electronic components or circuitry
            Against 14. Freezing;                                 that is a part of appliances, fixtures,
        (3) On the "residence premises" caused by                 computers, home entertainment units or other
            accidental discharge or overflow which                types of electronic apparatus.
            occurs off the "residence premises"; or           16. Volcanic Eruption
        (4) Caused by mold, fungus or wet rot                     This peril does not include loss caused by
            unless hidden within the walls or                     earthquake, land shock waves or tremors.
            ceilings or beneath the floors or above
            the ceilings of a structure.                    SECTION I – EXCLUSIONS
      c. In this peril, a plumbing system or                A. We do not insure for loss caused directly or
         household appliance does not include a                indirectly by any of the following. Such loss is
         sump, sump pump or related equipment or               excluded regardless of any other cause or event
         a roof drain, gutter, downspout or similar            contributing concurrently or in any sequence to
         fixtures or equipment.                                the loss. These exclusions apply whether or not
                                                               the loss event results in widespread damage or
      d. Section I – Exclusion A.3. Water,                     affects a substantial area.
         Paragraphs a. and c. that apply to surface
         water and water below the surface of the              1. Ordinance Or Law
         ground do not apply to loss by water                     Ordinance Or Law means any ordinance or
         covered under this peril.                                law:




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Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 32 of 142 Page ID #:32


                                                                                                 HOMEOWNERS
                                                                                          LIC 00011 00 (ed. 10/16)

      a. Requiring or regulating the construction,                c. Water below the surface of the ground,
         demolition, remodeling, renovation or repair                including water which exerts pressure on,
         of property, including removal of any                       or seeps, leaks or flows through a building,
         resulting debris. This Exclusion A.1.a. does                sidewalk, driveway, patio, foundation,
         not apply to the amount of coverage that                    swimming pool or other structure; or
         may be provided for in E.11. Ordinance Or                d. Waterborne material carried or otherwise
         Law under Section I – Property Coverages;                   moved by any of the water referred to in
      b. The requirements of which result in a loss                  A.3.a. through A.3.c. of this exclusion.
         in value to property; or                              This Exclusion A.3. applies regardless of whether
      c. Requiring any "insured" or others to test             any of the above, in A.3.a. through A.3.d., is
         for, monitor, clean up, remove, contain,              caused by an act of nature or is otherwise caused.
         treat, detoxify or neutralize, or in any way          This Exclusion A.3. applies to, but is not limited to,
         respond to, or assess the effects of,                 escape, overflow or discharge, for any reason, of
         pollutants.                                           water or waterborne material from a dam, levee,
         Pollutants means any solid, liquid, gaseous           seawall or any other boundary or containment
         or thermal irritant or contaminant, including         system.
         smoke, vapor, soot, fumes, acids, alkalis,            However, direct loss by fire, explosion or theft
         chemicals and waste. Waste includes                   resulting from any of the above, in A.3.a. through
         materials to be recycled, reconditioned or            A.3.d., is covered.
         reclaimed.
                                                               4. Power Failure
      This Exclusion A.1. applies whether or not the
      property has been physically damaged.                       Power Failure means the failure of power or
                                                                  other utility service if the failure takes place off
   2. Earth Movement                                              the "residence premises". But if the failure
      Earth Movement means:                                       results in a loss, from a Peril Insured Against
      a. Earthquake, including land shock waves or                on the "residence premises", we will pay for
         tremors before, during or after a volcanic               the loss caused by that peril.
         eruption;                                             5. Neglect
      b. Landslide, mudslide or mudflow;                          Neglect means neglect of an "insured" to use
      c. Subsidence or sinkhole; or                               all reasonable means to save and preserve
                                                                  property at and after the time of a loss.
      d. Any other earth movement including earth
         sinking, rising or shifting.                          6. War
      This Exclusion A.2. applies regardless of                   War includes the following and                 any
      whether any of the above, in A.2.a. through                 consequence of any of the following:
      A.2.d., is caused by an act of nature or is                 a. Undeclared war, civil war, insurrection,
      otherwise caused.                                              rebellion or revolution;
      However, direct loss by fire, explosion or theft            b. Warlike act by a military force or military
      resulting from any of the above, in A.2.a.                     personnel; or
      through A.2.d., is covered.                                 c. Destruction, seizure or use for a military
   3. Water                                                          purpose.
      This means:                                                 Discharge of a nuclear weapon will be deemed
      a. Flood, surface water, waves, including tidal             a warlike act even if accidental.
         wave and tsunami, tides, tidal water,                 7. Nuclear Hazard
         overflow of any body of water, or spray                  This Exclusion A.7. pertains to Nuclear Hazard
         from any of these, all whether or not driven             to the extent set forth in N. Nuclear Hazard
         by wind, including storm surge;                          Clause under Section I – Conditions.
      b. Water which:                                          8. Intentional Loss
        (1) Backs up through sewers or drains; or                 Intentional Loss means any loss arising out of
        (2) Overflows or is otherwise discharged                  any act an "insured" commits or conspires to
            from a sump, sump pump or related                     commit with the intent to cause a loss.
            equipment;



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 Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 33 of 142 Page ID #:33


                                                                                                  HOMEOWNERS
                                                                                           LIC 00011 00 (ed. 10/16)

      In the event of such loss, no "insured" is                1. Subject to the applicable limit of liability, we will
      entitled to coverage, even "insureds" who did                pay only that part of the total of all loss payable
      not commit or conspire to commit the act                     that exceeds the deductible amount shown in
      causing the loss.                                            the Declarations.
   9. Governmental Action                                       2. If two or more deductibles under this policy
      Governmental Action means the destruction,                   apply to the loss, only the highest deductible
      confiscation or seizure of property described in             amount will apply.
      Coverage A, B or C by order of any                     C. Duties After Loss
      governmental or public authority.                         In case of a loss to covered property, we have no
      This exclusion does not apply to such acts                duty to provide coverage under this policy if the
      ordered by any governmental or public                     failure to comply with the following duties is
      authority that are taken at the time of a fire to         prejudicial to us. These duties must be performed
      prevent its spread, if the loss caused by fire            either by you, an "insured" seeking coverage, or a
      would be covered under this policy.                       representative of either:
B. We do not insure for loss to property described in           1. Give prompt notice to us or our agent;
   Coverages A and B caused by any of the                       2. Notify the police in case of loss by theft;
   following. However, any ensuing loss to property
   described in Coverages A and B not precluded by              3. Notify the credit card or electronic fund transfer
   any other provision in this policy is covered.                  card or access device company in case of loss
                                                                   as provided for in E.6. Credit Card, Electronic
   1. Weather conditions. However, this exclusion                  Fund Transfer Card Or Access Device,
      only applies if weather conditions contribute in             Forgery And Counterfeit Money under Section
      any way with a cause or event excluded in A.                 I – Property Coverages;
      above to produce the loss.
                                                                4. Protect the property from further damage. If
   2. Acts or decisions, including the failure to act or           repairs to the property are required, you must:
      decide, of any person, group, organization or
      governmental body.                                           a. Make reasonable and necessary repairs to
                                                                      protect the property; and
   3. Faulty, inadequate or defective:
                                                                   b. Keep an        accurate     record    of   repair
      a. Planning, zoning, development, surveying,                    expenses;
         siting;
                                                                5. Cooperate with us in the investigation of a
      b. Design,    specifications,  workmanship,                  claim;
         repair,     construction,      renovation,
         remodeling, grading, compaction;                       6. Prepare an inventory of damaged personal
                                                                   property showing the quantity, description,
      c. Materials used in repair, construction,                   actual cash value and amount of loss. Attach
         renovation or remodeling; or                              all bills, receipts and related documents that
      d. Maintenance;                                              justify the figures in the inventory;
      of part or all of any property whether on or off          7. As often as we reasonably require:
      the "residence premises".                                    a. Show the damaged property;
                                                                   b. Provide us with records and documents we
SECTION I – CONDITIONS                                                request and permit us to make copies; and
A. Insurable Interest And Limit Of Liability                       c. Submit to examination under oath, while
   Even if more than one person has an insurable                      not in the presence of another "insured",
   interest in the property covered, we will not be                   and sign the same;
   liable in any one loss:                                      8. Send to us, within 60 days after our request,
   1. To an "insured" for more than the amount of                  your signed, sworn proof of loss which sets
      such "insured's" interest at the time of loss; or            forth, to the best of your knowledge and belief:
   2. For more than the applicable limit of liability.             a. The time and cause of loss;
B. Deductible                                                      b. The interests of all "insureds" and all others
                                                                      in the property involved and all liens on the
   Unless otherwise noted in this policy, the following               property;
   deductible provision applies:
                                                                   c. Other insurance which may cover the loss;
   With respect to any one loss:


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Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 34 of 142 Page ID #:34


                                                                                                HOMEOWNERS
                                                                                         LIC 00011 00 (ed. 10/16)

      d. Changes in title or occupancy of the                         (3) The necessary amount actually spent to
         property during the term of the policy;                          repair or replace the damaged building.
      e. Specifications of damaged buildings and                       If the building is rebuilt at a new premises,
         detailed repair estimates;                                    the cost described in (2) above is limited to
       f. The inventory of damaged              personal               the cost which would have been incurred if
          property described in 6. above;                              the building had been built at the original
                                                                       premises.
      g. Receipts for additional living expenses
         incurred and records that support the fair                b. If, at the time of loss, the amount of
         rental value loss; and                                       insurance in this policy on the damaged
                                                                      building is less than 80% of the full
      h. Evidence or affidavit that supports a claim                  replacement      cost     of    the  building
         under E.6. Credit Card, Electronic Fund                      immediately before the loss, we will pay the
         Transfer Card Or Access Device, Forgery                      greater of the following amounts, but not
         And Counterfeit Money under Section I –                      more than the limit of liability under this
         Property Coverages, stating the amount                       policy that applies to the building:
         and cause of loss.
                                                                      (1) The actual cash value of that part of the
D. Loss Settlement                                                        building damaged; or
   In this Condition D., the terms "cost to repair or                 (2) That proportion of the cost to repair or
   replace" and "replacement cost" do not include                         replace,    without      deduction   for
   the increased costs incurred to comply with the                        depreciation, that part of the building
   enforcement of any ordinance or law, except to                         damaged, which the total amount of
   the extent that coverage for these increased costs                     insurance in this policy on the damaged
   is provided in E.11. Ordinance Or Law under                            building bears to 80% of the
   Section I – Property Coverages. Covered property                       replacement cost of the building.
   losses are settled as follows:
                                                                   c. To determine the amount of insurance
   1. Property of the following types:                                required to equal 80% of the full
      a. Personal property;                                           replacement    cost    of    the   building
                                                                      immediately before the loss, do not include
      b. Awnings, carpeting, household appliances,
                                                                      the value of:
         outdoor antennas and outdoor equipment,
         whether or not attached to buildings;                        (1) Excavations, footings, foundations,
                                                                          piers, or any other structures or devices
      c. Structures that are not buildings; and
                                                                          that support all or part of the building,
      d. Grave markers, including mausoleums;                             which are below the undersurface of the
      at actual cash value at the time of loss but not                    lowest basement floor;
      more than the amount required to repair or                      (2) Those supports described in (1) above
      replace.                                                            which are below the surface of the
   2. Buildings covered under Coverage A or B at                          ground inside the foundation walls, if
      replacement cost without deduction for                              there is no basement; and
      depreciation, subject to the following:                         (3) Underground flues, pipes, wiring and
      a. If, at the time of loss, the amount of                           drains.
         insurance in this policy on the damaged                   d. We will pay no more than the actual cash
         building is 80% or more of the full                          value of the damage until actual repair or
         replacement      cost    of   the    building                replacement is complete. Once actual
         immediately before the loss, we will pay the                 repair or replacement is complete, we will
         cost to repair or replace, without deduction                 settle the loss as noted in 2.a. and b.
         for depreciation, but not more than the least                above.
         of the following amounts:
                                                                       However, if the cost to repair or replace the
         (1) The limit of liability under this policy that             damage is both:
             applies to the building;
                                                                      (1) Less than 5% of the amount of
         (2) The replacement cost of that part of the                     insurance in this policy on the building;
             building damaged with material of like                       and
             kind and quality and for like use; or
                                                                      (2) Less than $2,500;



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Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 35 of 142 Page ID #:35


                                                                                                HOMEOWNERS
                                                                                         LIC 00011 00 (ed. 10/16)

          we will settle the loss as noted in 2.a. and         2. A service agreement, this insurance is excess
          b. above whether or not actual repair or                over any amounts payable under any such
          replacement is complete.                                agreement. Service agreement means a
      e. You may disregard the replacement cost                   service plan, property restoration plan, home
         loss settlement provisions and make claim                warranty or other similar service warranty
         under this policy for loss to buildings on an            agreement, even if it is characterized as
         actual cash value basis. You may then                    insurance.
         make claim for any additional liability            H. Suit Against Us
         according to the provisions of this Condition         No action can be brought against us unless there
         D. Loss Settlement, provided you notify us,           has been full compliance with all of the terms
         within 180 days after the date of loss, of            under Section I of this policy and the action is
         your intent to repair or replace the                  started within two years after the date of loss.
         damaged building.
                                                            I. Our Option
E. Loss To A Pair Or Set
                                                               If we give you written notice within 30 days after
   In case of loss to a pair or set we may elect to:           we receive your signed, sworn proof of loss, we
   1. Repair or replace any part to restore the pair or        may repair or replace any part of the damaged
      set to its value before the loss; or                     property with material or property of like kind and
   2. Pay the difference between actual cash value             quality.
      of the property before and after the loss.            J. Loss Payment
F. Appraisal                                                   We will adjust all losses with you. We will pay you
   If you and we fail to agree on the amount of loss,          unless some other person is named in the policy
   either may demand an appraisal of the loss. In              or is legally entitled to receive payment. Loss will
   this event, each party will choose a competent              be payable 60 days after we receive your proof of
   and impartial appraiser within 20 days after                loss and:
   receiving a written request from the other. The two         1. Reach an agreement with you;
   appraisers will choose an umpire. If they cannot            2. There is an entry of a final judgment; or
   agree upon an umpire within 15 days, you or we
   may request that the choice be made by a judge              3. There is a filing of an appraisal award with us.
   of a court of record in the state where the              K. Abandonment Of Property
   "residence premises" is located. The appraisers             We need not accept any property abandoned by
   will separately set the amount of loss. If the              an "insured".
   appraisers submit a written report of an
   agreement to us, the amount agreed upon will be          L. Mortgage Clause
   the amount of loss. If they fail to agree, they will        1. If a mortgagee is named in this policy, any loss
   submit their differences to the umpire. A decision             payable under Coverage A or B will be paid to
   agreed to by any two will set the amount of loss.              the mortgagee and you, as interests appear. If
   Each party will:                                               more than one mortgagee is named, the order
                                                                  of payment will be the same as the order of
   1. Pay its own appraiser; and                                  precedence of the mortgages.
   2. Bear the other expenses of the appraisal and             2. If we deny your claim, that denial will not apply
      umpire equally.                                             to a valid claim of the mortgagee, if the
G. Other Insurance And Service Agreement                          mortgagee:
   If a loss covered by this policy is also covered by:           a. Notifies us of any change in ownership,
   1. Other insurance, we will pay only the                          occupancy or substantial change in risk of
      proportion of the loss that the limit of liability             which the mortgagee is aware;
      that applies under this policy bears to the total           b. Pays any premium due under this policy on
      amount of insurance covering the loss; or                      demand if you have neglected to pay the
                                                                     premium; and




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Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 36 of 142 Page ID #:36


                                                                                                HOMEOWNERS
                                                                                         LIC 00011 00 (ed. 10/16)

      c. Submits a signed, sworn statement of loss          O. Recovered Property
         within 60 days after receiving notice from            If you or we recover any property for which we
         us of your failure to do so. Paragraphs F.            have made payment under this policy, you or we
         Appraisal, H. Suit Against Us and J. Loss             will notify the other of the recovery. At your option,
         Payment under Section I – Conditions also             the property will be returned to or retained by you
         apply to the mortgagee.                               or it will become our property. If the recovered
   3. If we decide to cancel or not to renew this              property is returned to or retained by you, the loss
      policy, the mortgagee will be notified at least          payment will be adjusted based on the amount
      10 days before the date cancellation or                  you received for the recovered property.
      nonrenewal takes effect.                              P. Volcanic Eruption Period
   4. If we pay the mortgagee for any loss and deny            One or more volcanic eruptions that occur within a
      payment to you:                                          72-hour period will be considered as one volcanic
      a. We are subrogated to all the rights of the            eruption.
         mortgagee granted under the mortgage on            Q. Policy Period
         the property; or
                                                               This policy applies only to loss which occurs
      b. At our option, we may pay to the                      during the policy period.
         mortgagee the whole principal on the
         mortgage plus any accrued interest. In this        R. Concealment Or Fraud
         event, we will receive a full assignment and          We provide coverage to no "insureds" under this
         transfer of the mortgage and all securities           policy if, whether before or after a loss, an
         held as collateral to the mortgage debt.              "insured" has:
   5. Subrogation will not impair the right of the             1. Intentionally concealed or misrepresented any
      mortgagee to recover the full amount of the                 material fact or circumstance;
      mortgagee's claim.
                                                               2. Engaged in fraudulent conduct; or
M. No Benefit To Bailee                                        3. Made false statements;
   We will not recognize any assignment or grant               relating to this insurance.
   any coverage that benefits a person or
   organization holding, storing or moving property         S. Loss Payable Clause
   for a fee regardless of any other provision of this         If the Declarations shows a loss payee for certain
   policy.                                                     listed insured personal property, the definition of
N. Nuclear Hazard Clause                                       "insured" is changed to include that loss payee
                                                               with respect to that property.
   1. "Nuclear Hazard" means any nuclear reaction,
      radiation, or radioactive contamination, all             If we decide to cancel or not renew this policy,
      whether controlled or uncontrolled or however            that loss payee will be notified in writing.
      caused, or any consequence of any of these.
   2. Loss caused by the nuclear hazard will not be         SECTION II – LIABILITY COVERAGES
      considered loss caused by fire, explosion, or
                                                            A. Coverage E – Personal Liability
      smoke, whether these perils are specifically
      named in or otherwise included within the                If a claim is made or a suit is brought against an
      Perils Insured Against.                                  "insured" for damages because of "bodily injury"
                                                               or "property damage" caused by an "occurrence"
   3. This policy does not apply under Section I to
                                                               to which this coverage applies, we will:
      loss caused directly or indirectly by nuclear
      hazard, except that direct loss by fire resulting        1. Pay up to our limit of liability for the damages
      from the nuclear hazard is covered.                         for which an "insured" is legally liable.
                                                                  Damages     include      prejudgment      interest
                                                                  awarded against an "insured"; and




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 Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 37 of 142 Page ID #:37


                                                                                                HOMEOWNERS
                                                                                         LIC 00011 00 (ed. 10/16)

   2. Provide a defense at our expense by counsel                    (3) Used to carry persons or cargo for a
      of our choice, even if the suit is groundless,                     charge; or
      false or fraudulent. We may investigate and                    (4) Used for any "business" purpose except
      settle any claim or suit that we decide is                         for a motorized golf cart while on a
      appropriate. Our duty to settle or defend ends                     golfing facility.
      when our limit of liability for the "occurrence"
      has been exhausted by payment of a judgment              2. If Exclusion A.1. does not apply, there is still
      or settlement.                                              no coverage for "motor vehicle liability", unless
                                                                  the "motor vehicle" is:
B. Coverage F – Medical Payments To Others
                                                                  a. In dead storage on an "insured location";
   We will pay the necessary medical expenses that
   are incurred or medically ascertained within three             b. Used solely to service a residence;
   years from the date of an accident causing "bodily             c. Designed to assist the handicapped and, at
   injury". Medical expenses means reasonable                        the time of an "occurrence", it is:
   charges for medical, surgical, x-ray, dental,                     (1) Being used to assist a handicapped
   ambulance,     hospital,   professional   nursing,                    person; or
   prosthetic devices and funeral services. This
   coverage does not apply to you or regular                         (2) Parked on an "insured location";
   residents of your household except "residence                  d. Designed for recreational use off public
   employees". As to others, this coverage applies                   roads and:
   only:
                                                                     (1) Not owned by an "insured"; or
   1. To a person on the "insured location" with the
                                                                     (2) Owned by an "insured" provided the
      permission of an "insured"; or
                                                                         "occurrence" takes place:
   2. To a person off the "insured location", if the
                                                                        (a) On an "insured location" as defined
      "bodily injury":
                                                                            in Definition B.6.a., b., d., e. or h.; or
      a. Arises out of a condition on the "insured
                                                                        (b) Off an "insured location" and the
         location" or the ways immediately
                                                                            "motor vehicle" is:
         adjoining;
                                                                            (i) Designed as a toy vehicle for use
      b. Is caused by the activities of an "insured";
                                                                                by children under seven years of
      c. Is caused by a "residence employee" in the                             age;
         course of the "residence employee's"
                                                                            (ii) Powered by        one    or    more
         employment by an "insured"; or
                                                                                 batteries; and
      d. Is caused by an animal owned by or in the
                                                                           (iii) Not built or modified after
         care of an "insured".
                                                                                 manufacture to exceed a speed
                                                                                 of five miles per hour on level
SECTION II – EXCLUSIONS                                                          ground;
A. "Motor Vehicle Liability"                                      e. A motorized golf cart that is owned by an
                                                                     "insured", designed to carry up to four
   1. Coverages E and F do not apply to any "motor                   persons, not built or modified after
      vehicle liability" if, at the time and place of an             manufacture to exceed a speed of 25 miles
      "occurrence", the involved "motor vehicle":                    per hour on level ground and, at the time of
      a. Is registered for use on public roads or                    an "occurrence", is within the legal
         property;                                                   boundaries of:
      b. Is not registered for use on public roads or                (1) A golfing facility and is parked or stored
         property, but such registration is required                     there, or being used by an "insured" to:
         by a law, or regulation issued by a                            (a) Play the game of golf or for other
         government agency, for it to be used at the                        recreational or leisure activity
         place of the "occurrence"; or                                      allowed by the facility;
      c. Is being:                                                      (b) Travel to or from an area where
         (1) Operated in, or practicing for, any                            "motor vehicles" or golf carts are
             prearranged or organized race, speed                           parked or stored; or
             contest or other competition;
         (2) Rented to others;



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 Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 38 of 142 Page ID #:38


                                                                                                 HOMEOWNERS
                                                                                          LIC 00011 00 (ed. 10/16)

            (c) Cross public roads at designated                         (d) More than 25 horsepower if the
                points to access other parts of the                          outboard engine or motor is owned
                golfing facility; or                                         by an "insured" who acquired it
         (2) A    private    residential  community,                         before the policy period, but only if:
             including its public roads upon which a                         (i) You declare       them    at     policy
             motorized golf cart can legally travel,                             inception; or
             which is subject to the authority of a                          (ii) Your intent to insure them is
             property owners association and                                      reported to us in writing within 45
             contains an "insured's" residence.                                   days after you acquire them.
B. "Watercraft Liability"                                                 The coverages in (c) and (d) above
   1. Coverages E and F do not apply to any                               apply for the policy period.
      "watercraft liability" if, at the time of an                    Horsepower means the maximum power
      "occurrence", the involved watercraft is being:                 rating assigned to the engine or motor by
      a. Operated in, or practicing for, any                          the manufacturer.
         prearranged or organized race, speed               C. "Aircraft Liability"
         contest or other competition. This exclusion
         does not apply to a sailing vessel or a               This policy does not cover "aircraft liability".
         predicted log cruise;                              D. "Hovercraft Liability"
      b. Rented to others;                                     This policy does not cover "hovercraft liability".
      c. Used to carry persons or cargo for a               E. Coverage E – Personal Liability And Coverage
         charge; or                                            F – Medical Payments To Others
      d. Used for any "business" purpose.                      Coverages E and F do not apply to the following:
   2. If Exclusion B.1. does not apply, there is still         1. Expected Or Intended Injury
      no coverage for "watercraft liability" unless, at
                                                                  "Bodily injury" or "property damage" which is
      the time of the "occurrence", the watercraft:               expected or intended by an "insured", even if
      a. Is stored;                                               the resulting "bodily injury" or "property
      b. Is a sailing vessel, with or without auxiliary           damage":
         power, that is:                                           a. Is of a different kind, quality or degree than
         (1) Less than 26 feet in overall length; or                  initially expected or intended; or
         (2) 26 feet or more in overall length and not            b. Is sustained by a different person, entity or
             owned by or rented to an "insured"; or                  property than initially expected or intended.
      c. Is not a sailing vessel and is powered by:               However, this Exclusion E.1. does not apply to
                                                                  "bodily injury" or "property damage" resulting
         (1) An inboard or inboard-outdrive engine                from the use of reasonable force by an
             or motor, including those that power a               "insured" to protect persons or property;
             water jet pump, of:
                                                               2. "Business"
            (a) 50 horsepower or less and not
                owned by an "insured"; or                         a. "Bodily injury" or "property damage" arising
                                                                     out of or in connection with a "business"
            (b) More than 50 horsepower and not                      conducted from an "insured location" or
                owned by or rented to an "insured";                  engaged in by an "insured", whether or not
                or                                                   the "business" is owned or operated by an
         (2) One or more outboard engines or                         "insured" or employs an "insured".
             motors with:                                             This Exclusion E.2. applies but is not
            (a) 25 total horsepower or less;                          limited to an act or omission, regardless of
            (b) More than 25 horsepower if the                        its nature or circumstance, involving a
                outboard engine or motor is not                       service or duty rendered, promised, owed,
                owned by an "insured";                                or implied to be provided because of the
                                                                      nature of the "business".
            (c) More than 25 horsepower if the
                outboard engine or motor is owned                 b. This Exclusion E.2. does not apply to:
                by an "insured" who acquired it                      (1) The rental or holding for rental of an
                during the policy period; or                             "insured location";


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Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 39 of 142 Page ID #:39


                                                                                               HOMEOWNERS
                                                                                        LIC 00011 00 (ed. 10/16)

            (a) On an occasional basis if used only            8. Controlled Substance
                as a residence;                                   "Bodily injury" or "property damage" arising out
            (b) In part for use only as a residence,              of the use, sale, manufacture, delivery, transfer
                unless a single-family unit is                    or possession by any person of a Controlled
                intended for use by the occupying                 Substance as defined by the Federal Food and
                family to lodge more than two                     Drug Law at 21 U.S.C.A. Sections 811 and
                roomers or boarders; or                           812. Controlled Substances include but are not
            (c) In part, as an office, school, studio or          limited to cocaine, LSD, marijuana and all
                private garage; and                               narcotic drugs. However, this exclusion does
                                                                  not apply to the legitimate use of prescription
        (2) An "insured" under the age of 21 years                drugs by a person following the lawful orders
            involved in a part-time or occasional,                of a licensed health care professional.
            self-employed "business" with no
            employees;                                         Exclusions A. "Motor Vehicle Liability", B.
                                                               "Watercraft Liability", C. "Aircraft Liability", D.
   3. Professional Services                                    "Hovercraft Liability" and E.4. "Insured's"
      "Bodily injury" or "property damage" arising out         Premises Not An "Insured Location" do not apply
      of the rendering of or failure to render                 to "bodily injury" to a "residence employee" arising
      professional services;                                   out of and in the course of the "residence
                                                               employee's" employment by an "insured".
   4. "Insured's" Premises Not An "Insured
      Location"                                             F. Coverage E – Personal Liability
      "Bodily injury" or "property damage" arising out         Coverage E does not apply to:
      of a premises:                                           1. Liability:
      a. Owned by an "insured";                                   a. For any loss assessment charged against
      b. Rented to an "insured"; or                                  you as a member of an association,
                                                                     corporation or community of property
      c. Rented to others by an "insured";
                                                                     owners, except as provided in D. Loss
      that is not an "insured location";                             Assessment under Section II – Additional
   5. War                                                            Coverages;
      "Bodily injury" or "property damage" caused                 b. Under any contract or agreement entered
      directly or indirectly by war, including the                   into by an "insured". However, this
      following and any consequence of any of the                    exclusion does not apply to written
      following:                                                     contracts:
      a. Undeclared war, civil war, insurrection,                    (1) That directly relate to the ownership,
         rebellion or revolution;                                        maintenance or use of an "insured
                                                                         location"; or
      b. Warlike act by a military force or military
         personnel; or                                               (2) Where the liability of others is assumed
                                                                         by you prior to an "occurrence";
      c. Destruction, seizure or use for a military
         purpose.                                                     unless excluded in a. above or elsewhere
                                                                      in this policy;
      Discharge of a nuclear weapon will be deemed
      a warlike act even if accidental;                        2. "Property damage" to property owned by an
                                                                  "insured". This includes costs or expenses
   6. Communicable Disease                                        incurred by an "insured" or others to repair,
      "Bodily injury" or "property damage" which                  replace, enhance, restore or maintain such
      arises out of the transmission of a                         property to prevent injury to a person or
      communicable disease by an "insured";                       damage to property of others, whether on or
   7. Sexual Molestation, Corporal Punishment                     away from an "insured location";
      Or Physical Or Mental Abuse                              3. "Property damage" to property rented to,
      "Bodily injury" or "property damage" arising out            occupied or used by or in the care of an
      of sexual molestation, corporal punishment or               "insured". This exclusion does not apply to
      physical or mental abuse; or                                "property damage" caused by fire, smoke or
                                                                  explosion;




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Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 40 of 142 Page ID #:40


                                                                                                 HOMEOWNERS
                                                                                          LIC 00011 00 (ed. 10/16)

   4. "Bodily injury" to any person eligible to receive            all whether controlled or uncontrolled or
      any benefits voluntarily provided or required to             however caused; or
      be provided by an "insured" under any:                       d. Any consequence of any of these; or
      a. Workers' compensation law;                             4. To any person, other than a "residence
      b. Non-occupational disability law; or                       employee" of an "insured", regularly residing
      c. Occupational disease law;                                 on any part of the "insured location".
   5. "Bodily injury" or "property damage" for which
      an "insured" under this policy:                        SECTION II – ADDITIONAL COVERAGES
      a. Is also an insured under a nuclear energy           We cover the following in addition to the limits of
         liability policy issued by the:                     liability:
         (1) Nuclear Energy        Liability   Insurance     A. Claim Expenses
             Association;                                       We pay:
         (2) Mutual    Atomic        Energy      Liability      1. Expenses we incur and costs taxed against an
             Underwriters;                                         "insured" in any suit we defend;
         (3) Nuclear     Insurance     Association     of       2. Premiums on bonds required in a suit we
             Canada;                                               defend, but not for bond amounts more than
         or any of their successors; or                            the Coverage E limit of liability. We need not
      b. Would be an insured under such a policy                   apply for or furnish any bond;
         but for the exhaustion of its limit of liability;      3. Reasonable expenses incurred by an "insured"
         or                                                        at our request, including actual loss of
   6. "Bodily injury" to you or an "insured" as defined            earnings (but not loss of other income) up to
      under Definition 5.a. or b.                                  $250 per day, for assisting us in the
                                                                   investigation or defense of a claim or suit; and
      This exclusion also applies to any claim made
      or suit brought against you or an "insured" to:           4. Interest on the entire judgment which accrues
                                                                   after entry of the judgment and before we pay
      a. Repay; or                                                 or tender, or deposit in court that part of the
      b. Share damages with;                                       judgment which does not exceed the limit of
                                                                   liability that applies.
      another person who may be obligated to pay
      damages because of "bodily injury" to an               B. First Aid Expenses
      "insured".                                                We will pay expenses for first aid to others
G. Coverage F – Medical Payments To Others                      incurred by an "insured" for "bodily injury" covered
                                                                under this policy. We will not pay for first aid to an
   Coverage F does not apply to "bodily injury":
                                                                "insured".
   1. To a "residence employee" if the "bodily
                                                             C. Damage To Property Of Others
      injury":
                                                                1. We will pay, at replacement cost, up to $1,000
      a. Occurs off the "insured location"; and
                                                                   per "occurrence" for "property damage" to
      b. Does not arise out of or in the course of the             property of others caused by an "insured".
         "residence employee's" employment by an
                                                                2. We will not pay for "property damage":
         "insured";
                                                                   a. To the extent of any amount recoverable
   2. To any person eligible to receive benefits
                                                                      under Section I;
      voluntarily provided or required to be provided
      under any:                                                   b. Caused intentionally by an "insured" who is
                                                                      13 years of age or older;
      a. Workers' compensation law;
                                                                   c. To property owned by an "insured";
      b. Non-occupational disability law; or
                                                                   d. To property owned by or rented to a tenant
      c. Occupational disease law;
                                                                      of an "insured" or a resident in your
   3. From any:                                                       household; or
      a. Nuclear reaction;                                         e. Arising out of:
      b. Nuclear radiation; or                                        (1) A "business"       engaged     in   by   an
      c. Radioactive contamination;                                       "insured";



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Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 41 of 142 Page ID #:41


                                                                                               HOMEOWNERS
                                                                                        LIC 00011 00 (ed. 10/16)

        (2) Any act or omission in connection with a          4. We do not cover assessments charged against
            premises owned, rented or controlled by              you or a corporation or association of property
            an "insured", other than the "insured                owners by any governmental body.
            location"; or
        (3) The       ownership,         maintenance,      SECTION II – CONDITIONS
            occupancy, operation, use, loading or
            unloading     of   aircraft,   hovercraft,     A. Limit Of Liability
            watercraft or "motor vehicles".                   Our total liability under Coverage E for all
             This Exclusion e.(3) does not apply to a         damages resulting from any one "occurrence" will
             "motor vehicle" that:                            not be more than the Coverage E Limit Of Liability
                                                              shown in the Declarations. This limit is the same
            (a) Is designed for recreational use off          regardless of the number of "insureds", claims
                public roads;                                 made or persons injured. All "bodily injury" and
            (b) Is not owned by an "insured"; and             "property damage" resulting from any one
            (c) At the time of the "occurrence", is           accident or from continuous or repeated exposure
                not required by law, or regulation            to substantially the same general harmful
                issued by a government agency, to             conditions shall be considered to be the result of
                have been registered for it to be             one "occurrence".
                used on public roads or property.             Our total liability under Coverage F for all medical
D. Loss Assessment                                            expense payable for "bodily injury" to one person
                                                              as the result of one accident will not be more than
   1. We will pay up to $1,000 for your share of loss         the Coverage F Limit Of Liability shown in the
      assessment charged against you, as owner or             Declarations.
      tenant of the "residence premises", during the
      policy period by a corporation or association of     B. Severability Of Insurance
      property owners, when the assessment is                 This insurance applies separately to each
      made as a result of:                                    "insured". This condition will not increase our limit
      a. "Bodily injury" or "property damage" not             of liability for any one "occurrence".
         excluded from coverage under Section II –         C. Duties After "Occurrence"
         Exclusions; or                                       In case of an "occurrence", you or another
      b. Liability for an act of a director, officer or       "insured" will perform the following duties that
         trustee in the capacity as a director, officer       apply. We have no duty to provide coverage
         or trustee, provided such person:                    under this policy if your failure to comply with the
        (1) Is elected by the members of a                    following duties is prejudicial to us. You will help
            corporation or association of property            us by seeing that these duties are performed:
            owners; and                                       1. Give written notice to us or our agent as soon
        (2) Serves without deriving any income                   as is practical, which sets forth:
            from the exercise of duties which are                a. The identity of the policy and the "named
            solely on behalf of a corporation or                    insured" shown in the Declarations;
            association of property owners.                      b. Reasonably available information on the
   2. Paragraph I. Policy Period under Section II –                 time, place and circumstances of the
      Conditions does not apply to this Loss                        "occurrence"; and
      Assessment Coverage.                                       c. Names and addresses of any claimants
   3. Regardless of the number of assessments, the                  and witnesses;
      limit of $1,000 is the most we will pay for loss        2. Cooperate with us in the investigation,
      arising out of:                                            settlement or defense of any claim or suit;
      a. One accident, including continuous or                3. Promptly forward to us every notice, demand,
         repeated exposure to substantially the                  summons or other process relating to the
         same general harmful condition; or                      "occurrence";
      b. A covered act of a director, officer or              4. At our request, help us:
         trustee. An act involving more than one
         director, officer or trustee is considered to           a. To make settlement;
         be a single act.



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Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 42 of 142 Page ID #:42


                                                                                                    HOMEOWNERS
                                                                                             LIC 00011 00 (ed. 10/16)

      b. To enforce any right of contribution or            H. Other Insurance
         indemnity   against  any  person     or               This insurance is excess over other valid and
         organization who may be liable to an                  collectible insurance except insurance written
         "insured";                                            specifically to cover as excess over the limits of
      c. With the conduct of suits and attend                  liability that apply in this policy.
         hearings and trials; and                           I. Policy Period
      d. To secure and give evidence and obtain                This policy applies only to "bodily injury" or
         the attendance of witnesses;                          "property damage" which occurs during the policy
   5. With respect to C. Damage To Property Of                 period.
      Others under Section II – Additional                  J. Concealment Or Fraud
      Coverages, submit to us within 60 days after
      the loss a sworn statement of loss and show              We do not provide coverage to an "insured" who,
      the damaged property, if in an "insured's"               whether before or after a loss, has:
      control;                                                 1. Intentionally concealed or misrepresented any
   6. No "insured" shall, except at such "insured's"              material fact or circumstance;
      own cost, voluntarily make payment, assume               2. Engaged in fraudulent conduct; or
      obligation or incur expense other than for first
                                                               3. Made false statements;
      aid to others at the time of the "bodily injury".
                                                               relating to this insurance.
D. Duties Of An Injured Person – Coverage F –
   Medical Payments To Others
   1. The injured person or someone acting for the          SECTIONS I AND II – CONDITIONS
      injured person will:                                  A. Liberalization Clause
      a. Give us written proof of claim, under oath if         If we make a change which broadens coverage
         required, as soon as is practical; and                under this edition of our policy without additional
      b. Authorize us to obtain copies of medical              premium charge, that change will automatically
         reports and records.                                  apply to your insurance as of the date we
                                                               implement the change in your state, provided that
   2. The injured person will submit to a physical             this implementation date falls within 60 days prior
      exam by a doctor of our choice when and as               to or during the policy period stated in the
      often as we reasonably require.                          Declarations.
E. Payment Of Claim – Coverage F – Medical                     This Liberalization Clause does not apply to
   Payments To Others                                          changes implemented with a general program
   Payment under this coverage is not an admission             revision that includes both broadenings and
   of liability by an "insured" or us.                         restrictions in coverage, whether that general
F. Suit Against Us                                             program revision is implemented through
                                                               introduction of:
   1. No action can be brought against us unless
      there has been full compliance with all of the           1. A subsequent edition of this policy; or
      terms under this Section II.                             2. An amendatory endorsement.
   2. No one will have the right to join us as a party      B. Waiver Or Change Of Policy Provisions
      to any action against an "insured".
                                                               A waiver or change of a provision of this policy
   3. Also, no action with respect to Coverage E can           must be in writing by us to be valid. Our request
      be brought against us until the obligation of            for an appraisal or examination will not waive any
      such "insured" has been determined by final              of our rights.
      judgment or agreement signed by us.
                                                            C. Cancellation
G. Bankruptcy Of An "Insured"                                  1. You may cancel this policy at any time by
   Bankruptcy or insolvency of an "insured" will not              returning it to us or by letting us know in writing
   relieve us of our obligations under this policy.               of the date cancellation is to take effect.




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10/16)                                        used with permission.
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 43 of 142 Page ID #:43


                                                                                              HOMEOWNERS
                                                                                       LIC 00011 00 (ed. 10/16)

   2. We may cancel this policy only for the reasons       F. Subrogation
      stated below by letting you know in writing of          An "insured" may waive in writing before a loss all
      the date cancellation takes effect. This                rights of recovery against any person. If not
      cancellation notice may be delivered to you, or         waived, we may require an assignment of rights of
      mailed to you at your mailing address shown in          recovery for a loss to the extent that payment is
      the Declarations. Proof of mailing will be              made by us.
      sufficient proof of notice.
                                                              If an assignment is sought, an "insured" must sign
      a. When you have not paid the premium, we               and deliver all related papers and cooperate with
         may cancel at any time by letting you know           us.
         at least 10 days before the date
         cancellation takes effect.                           Subrogation does not apply to Coverage F or
                                                              Paragraph C. Damage To Property Of Others
      b. When this policy has been in effect for less         under Section II – Additional Coverages.
         than 60 days and is not a renewal with us,
         we may cancel for any reason by letting           G. Death
         you know at least 10 days before the date            If any person named in the Declarations or the
         cancellation takes effect.                           spouse, if a resident of the same household, dies,
      c. When this policy has been in effect for 60           the following apply:
         days or more, or at any time if it is a              1. We insure the legal representative of the
         renewal with us, we may cancel:                         deceased but only with respect to the premises
         (1) If there has been a material                        and property of the deceased covered under
             misrepresentation of fact which if known            the policy at the time of death; and
             to us would have caused us not to issue          2. "Insured" includes:
             the policy; or
                                                                 a. An "insured" who is a member of your
         (2) If the risk has changed substantially                  household at the time of your death, but
             since the policy was issued.                           only while a resident of the "residence
         This can be done by letting you know at                    premises"; and
         least 30 days before the date cancellation              b. With respect to your property, the person
         takes effect.                                              having proper temporary custody of the
      d. When this policy is written for a period of                property until appointment and qualification
         more than one year, we may cancel for any                  of a legal representative.
         reason at anniversary by letting you know
         at least 30 days before the date
         cancellation takes effect.
   3. When this policy is canceled, the premium for
      the period from the date of cancellation to the
      expiration date will be refunded pro rata.
   4. If the return premium is not refunded with the
      notice of cancellation or when this policy is
      returned to us, we will refund it within a
      reasonable time after the date cancellation
      takes effect.
D. Nonrenewal
   We may elect not to renew this policy. We may do
   so by delivering to you, or mailing to you at your
   mailing address shown in the Declarations, written
   notice at least 30 days before the expiration date
   of this policy. Proof of mailing will be sufficient
   proof of notice.
E. Assignment
   Assignment of this policy will not be valid unless
   we give our written consent.




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Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 44 of 142 Page ID #:44




                        EXHIBIT B
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 45 of 142 Page ID #:45

                                         Merpour Law, Inc.

  Arash Merpour, Esq.                 2006 East Foothill Blvd
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                                         (805) 222-6738
  December 21, 2020

  EMAIL ONLY

  Lemonade
  Benjamin Endres
  Ben.endres@lemonade.com


  Re:    Williams, Tina – LC5268E0C7 – Case File Request

  Dear Ms. Endres,
       My office has been retained by Ms. Tina Williams, Policy #LP57346AC7, Claim
  #LC5268E0C7. Attached is my statement of representation.
         Please forward me a copy of the insurance policy and the case file for the above claim.
  An electronic copy is ok.
  Regards,




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  Merpour Law, Inc.
  805.222.6738
  arash@merpourlaw.com
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 46 of 142 Page ID #:46




                        EXHIBIT C
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 47 of 142 Page ID #:47

                                         Merpour Law, Inc.

  Arash Merpour, Esq.                  2006 East Foothill Blvd
                                        Pasadena, CA 91107
                                          (805) 222 - 6738
  January 13, 2021

  EMAIL ONLY

  Lemonade
  Benjamin Endres
  Ben.endres@lemonade.com


  Re:    Williams, Tina – LC5268E0C7 – Case File Request #2

  Dear Ms. Endres,
          This is my second request to view the case file and to confirm that you are not providing
  us with any documents related to the case, except for the insurance policy. I am starting to sound
  like a broken record, but you are legally required to provide the case file upon request. As I am
  sure you are aware, my Client is disabled and struggles to maintain any correspondences you
  may have previously submitted. Her disability aside, she has a right to request a complete
  explanation as to all the reasons you accepted or denied her claim. Your email on January 13,
  2021, indicated you will only provide the case file upon a subpoena. I am surprised Lemonade
  has a policy of forcing the insured to sue them in order to review their case.
  Regards,




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  Merpour Law, Inc.
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  arash@merpourlaw.com
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 48 of 142 Page ID #:48




                        EXHIBIT D
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 49 of 142 Page ID #:49

                                        Merpour Law, Inc.

  Arash Merpour, Esq.                 2006 East Foothill Blvd
                                       Pasadena, CA 91107
                                         (805) 222 - 6738
  March 12, 2021

  EMAIL ONLY

  Lemonade
  Benjamin Endres
  Ben.endres@lemonade.com


  Re:    Williams, Tina – LC5268E0C7 – Unauthorized Contact & Case File Request #3

  Dear Ms. Endres,
          I don’t know what is going on with you, and your company policies, but let me refresh
  your memory of the law. To date, your company has refused to provide any documents relating
  to the above referenced claim. You keep on telling me that legal will reach out, but they never
  do. That’s fine, you can keep on following company policy and not provide me with any
  documents.
          Now I hear that you are texting my Client stating that the claim is being reopned. You
  cannot contact my Client while she is being represented. I already told you to direct all
  communications with me, and now you are trying to speak with her behind my back. I demand
  that you inform us what is going on with the case, and why it is being reopened.
  Regards,




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  arash@merpourlaw.com
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 50 of 142 Page ID #:50




                        EXHIBIT E
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 51 of 142 Page ID #:51

                                          Merpour Law, Inc.

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                                          (805) 222 - 6738
  April 9, 2021

  EMAIL ONLY

  Katherine T. Botros
  Resnick & Louis, P.C.
  Kbottros@rlattorneys.com

  Re:     Williams, Tina – LC5268E0C7 – Case File Request #4

  Dear Ms. Botros,
          Your letter I received today indicated I would receive a dropbox link. I have received no
  such link. Since you still have not provided me with anything, how about you answer basic
  questions about the claim.
        1) How much money did you pay to my Client, and what did it cover?
        2) What parts of my Client’s claim did you deny, and why?
         Please don’t continue to waste me time by referencing the case file that you are not
  providing. You are a representative of the insurance company and should be able to succinctly
  state how much money my Client received, , which part of the claim was denied, and why.

          In my previous letter, I clearly asked why my Client was contacted, why the case is being
  reopened, and the current status of the case? Your only response was to state that you have asked
  the adjuster to refrain from contacting my Client – an unhelpful response. I am asking you
  again, why was my Client contacted, why is the claim being reopened, and what is the
  current status of the claim? If you continue to fail to answer these simple, straightforward
  questions about the status of this claim then I will assume that you do not know why my Client
  was contacted, you do not know why it was reopened, and you do not know what the current
  status of the case. Since you are the attorney representing this claim, I will assume that if you do
  not know the current status of the claim, then it has been subsequently closed after you contacted
  my Client stating it was reopened.

         Kindly let me know if my understanding of your client’s current position of this claim is
  incorrect, and answer the above questions regarding payment, by April 16, 2020. In addition,
  kindly provide the terms of any subrogation agreement between our clients.

  Regards,



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  arash@merpourlaw.com
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 52 of 142 Page ID #:52




                         EXHIBIT F
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 53 of 142 Page ID #:53

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                                          (805) 222 - 6738
  April 12, 2021

  EMAIL ONLY

  Katherine T. Botros
  Resnick & Louis, P.C.
  Kbottros@rlattorneys.com

  Re:    Williams, Tina – LC5268E0C7 – Case File Request #5 & Bad Faith Assertion

  Dear Ms. Botros,
          This will be my last attempt to obtain the complete case file from you before filing suit
  for a bad-faith lawsuit. I have been requesting this file for over four months, and you provide me
  with an incomplete case file.
          This only contains generic one-line summaries of the amount paid with no real
  explanation of how you reached the final amount. In particular, the documents used to payout
  the items in PDF pages 29 – 31, and the attachments referenced in pdf pages 32 – 25 are not
  provided. An insured would never be able to understand how you paid out the claim with the
  information you belatedly provided. If you are going to claim that all of this is privileged, then
  say so, and we will seek it during discovery. You did not even provide the denial letters or
  summary payout letters that generally accompany every claim.
         You still have not explained why your adjuster recently contacted my client, why your
  insurance company stated the claim was being reopened, and what is the current status of the
  claim. Can you at least tell me if this claim is open or closed?
         I’m not interested in waiting another four months for you to provide basic claim
  information. If we do not receive a detailed breakdown of the amount you paid, why it was paid,
  and the documents supporting the payment by April 16, 2021, then I will assume you have no
  more information to provide, and I will take appropriate action.
  Regards,



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Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 54 of 142 Page ID #:54




                        EXHIBIT G
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 55 of 142 Page ID #:55

                                          Merpour Law, Inc.

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                                           (805) 222 - 6738
  April 26, 2021

  EMAIL ONLY

  Katherine T. Botros
  Resnick & Louis, P.C.
  Kbottros@rlattorneys.com

  Re:      Williams, Tina – LC5268E0C7 – Case File Request #6

  Dear Ms. Botros,
         The claim file is incomplete. There are number of payouts listed with no explanation. It
  would be helpful if you clarify the following based on Lemonade00081-2 :
        1. Is the total amount you paid to my Client $38,061.38?
        2. What did the $6,300 for the “pool equip” include”? There is no invoice or estimate for
           this item.
        3. What did the $5,561.15 for the “block wall estimate” include? There is no invoice or
           estimate for this item.
        4. What does the $12,638.85 for the “Policy Limit Payment up to $25K” include? There is
           no invoice or estimate for this item.
        5. What does the $11,500 for the “Policy Limits w Mortgage Co.” include? There is no
           invoice or estimate for this item.
        6. What does $246.5 for G4S include? There is no invoice or estimate for this item.
        7. What does $617 for G4S include? There is no invoice or estimate for this item.
        8. What does $697.88 for RYZE include? There is no invoice or estimate for this item.
        9. Pages Lemonade00132 & Lemonade00143 are unclear. With respect to these two pages,
           who is the vendor and how much did you pay out?

  Where are all of the letters you sent to my Client explaining the above payouts? Where are the
  claim denial letters for the unpaid amount listed on Lemonade00081?

  We have the right to understand why you paid/didn’t pay each claim. Please provide a response
  by April 30, 2021. I trust, since you already reviewed the file for privilege, that it will not take
  the entire week to respond.

  Regards,


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Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 56 of 142 Page ID #:56




                        EXHIBIT H
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 57 of 142 Page ID #:57

                                          Merpour Law, Inc.

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                                           (805) 222 - 6738
  May 3, 2021

  EMAIL ONLY

  Katherine T. Botros
  Resnick & Louis, P.C.
  Kbottros@rlattorneys.com

  Re:    Williams, Tina – LC5268E0C7 – Case File Request #7

  Dear Ms. Botros,
          This letter is to confirm that you will not be providing us with any further documents
  relating to this case. It will also confirm that you will not be answering any of the questions I
  raised in my letter to you dated April 26, 2021.

  Regards,


  Arash Merpour, Esq.
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Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 58 of 142 Page ID #:58




                         EXHIBIT I
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 59 of 142 Page ID #:59

                                           Merpour Law, Inc.

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  May 13, 2021

  EMAIL ONLY
  Katherine T. Botros
  Resnick & Louis, P.C.
  Kbottros@rlattorneys.com

  Re:      Williams, Tina – LC5268E0C7 – Sworn Statement of Loss & Insurance Code §2071

  Dear Ms. Botros,
         Attached is our sworn proof of loss. Per the policy, you have sixty days to respond to the
  sworn proof of loss. However, the policy also stipulates that any lawsuit must be brought against
  you within two years after the date of loss. We ask for an extension of this provision barring any
  lawsuit against you after two years from the date of loss to Wednesday July 14, 2021, in order to
  provide you an adequate amount of time to respond to the sworn proof of loss. We will assume
  you are not granting us the requested extension unless we receive confirmation in writing.
         This letter will also confirm, despite my five months long request for compliance, you
  have failed to comply with Insurance Code §2071 by continuing to delay the delivery and
  explanation of the following:

        1. All payments made on the loss, including a statement of loss and the associated check
           number:
        2. All loss adjustment calculations as to the amount of loss and depreciation:
        3. All reports, this includes cause and origin reports, Independent adjuster reports, other
           vendor reports, witness interviews, governmental agency reports, and private
           investigation reports:
        4. All invoices and proposals the insured submitted, along with an explanation as to why it
           was accepted or denied:
        5. Any inspection report or photographs of the property prior to the loss from the
           underwriting file.
           It’s my understanding that you have not provided these documents, nor will you provide
  it within fourteen days. If this incorrect, then kindly point out where I can find it in the “case
  file” you provided. These are all reasonable requests to insure a full, fair, and reasonable
  investigation and prompt payment of the claim in accordance with the California Fair Claims
  Settlement Regulations.

  Regards,
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 60 of 142 Page ID #:60




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Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 61 of 142 Page ID #:61
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 62 of 142 Page ID #:62
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 63 of 142 Page ID #:63
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 64 of 142 Page ID #:64



POLICY NUMBER
                                                             Sworn Statement                                 COMPANY CLAIM NUMBER
 LP57346AC7
_______________
                                                                                                               LP57346AC7
POLICY AMT. AT TIME OF LOSS                                                                                  _____________________________________

  766,000
$_____________________________
                                                                             IN                              AGENT
                                                                                                               Benjamin Endres
DATE ISSUED                                             PROOF OF LOSS                                        _________________________________
                                                                                                             AGENCY AT
 3/1/2019
______________________________                                                                                 Lemonade Insurance Company
DATE EXPIRES                                                                                                 _____________________________________
  3/1/2020
______________________________

         Lemonade Insurance Company
To the ___________________________________________________________________

          New York, NY
of ________________________________________________________________________________________
At time of loss, by the above indicated policy of insurance you insured-

  Tina Williams at 21444 Peggy Joyce Ln, Santa Clarita, CA 91350
________________________________________________________________________________________________________________________
_________________________________________________________________________________________________________________________
against loss by ___________________________
                   damage                          to the property described according to the terms and conditions of said policy and of all forms,
endorsements, transfers and assignments attached thereto.

TIME AND                 property
                     A ________________    loss occurred about the hour of _____o'clock
                                                                             2:21                     14
                                                                                         AM/ on the ______           June
                                                                                                            day of __________,    19.
                                                                                                                               20__
ORIGIN               The cause and origin of the said loss were: ____________________________________________________________________
                                                                   neighbors fence collapsed into property.

OCCUPANCY            The building described, or containing the property described, was occupied at the time of the loss as follows, and for no
                                                  insured and tenants
                     other purpose whatever: ______________________________________________________________________________.
TITLE AND            At the time of the loss, the interest of your insured in the property described therein was________________________
                                                                                                                 complete 100%              INTEREST
CHANGES              ________________________________________________________ . No other person or persons had any interest therein or
                     encumbrance thereon, except: ______________________________________________________________________________
                     Since the said policy was issued, there has been no assignment thereof, or change of interest, use, occupancy, possession, location
                     or exposure of the property described, except
                     _______________________________________________________________________________________________________

TOTAL                THE TOTAL AMOUNT OF INSURANCE upon the property described by this policy was, at the time of the loss,
                          766,000
                     $ ______________________________,          as more particularly specified in the apportionment attached, besides which there was no
                     policy or other contract of insurance, written or oral, valid or invalid.
                                                                                                                         556,500
VALUE                THE ACTUAL CASH VALUE of said property at the time of the loss was . . . . . . . . . . . . $ _____________________________

LOSS                                                                                                                                    167,885.60
                     THE WHOLE LOSS AND DAMAGE was . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .$ ____________________________

AMT. CLAIMED                                                                                        167,885.60
                     THE AMOUNT CLAIMED under the above numbered policy number is………………... . $______________________________

STATEMENTS           The said loss did not originate by any act, design or procurement on the part of your insured, or this affiant; nothing has
OF INSURED           done by or with the privity or consent of your insured or this affiant, to violate the conditions of the policy, or render it void; no
                     articles are mentioned herein or in annexed schedules but such as were destroyed or damaged at the time of said loss; no property
                     saved has in any manner been concealed, and no attempt to deceive the said company, as to the extent of said loss, has in any
                     manner been made. Any other information that may be required will be furnished and considered a part of this proof.


I incorporate all documents I provided to Lemonade since the inception of this claim into this sworn proof of loss.




_______________________                              _________________
Date                                                 Tina Williams




ANY PERSON WHO KNOWINGLY AND WITH INTENT TO INJURE, DEFRAUD OR DECEIVE ANY INSURANCE COMPANY FILES A
STATEMENT OF CLAIM CONTAINING ANY FALSE, INCOMPLETE OR MISLEADING INFORMATION IS GUILTY OF A FELONY OF THE
THIRD DEGREE.
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 65 of 142 Page ID #:65
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 66 of 142 Page ID #:66




  i Construction
  “Building Your Vision”
  24752 Newhall Ave
  Newhall CA 91321
  Telephone: (661) 510 - 8554


                           Landscape and Hardscape Proposal
                                   For the residence of:

                                 Ms. Tina Williams
                              21444 Peggy Joyce Lane
                                Saugus, CA 91350
                           Email: Badassshoestore@gmail.com
                             Phone: (661) 312-1270
                                October 15, 2019.

  Landscape and Hardscape Services
  i Construction, ("landscaper") proposes to provide Ms. Tina Williams. ("Client") with
  equipment and labor to complete the scope of services outlined below. Once the proposal is
  accepted any changes requested by the Client will require a change order signed by both parties
  before any work can be initiated.

   SCOPE OF SERVICES                                                                        COST
   1.Waterfall: Contractor will pour concrete foundation and install Waterfall on rear      $7,000.00
   side of residence, homeowner to provide all material necessary.
   TOTAL PROJECT COST                                                                       $7,000.00

  COSTS:
  Cost for the project will be Seven Thousand Dollars ($7,000.00). A deposit in the amount of
  two hundred ($200.00) is due at the time the proposal is accepted and signed by both parties.
  This deposit will be credited to our final billing. The remaining portion of the fee, ($6,800.00),
  is due and payable as scheduled.
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 67 of 142 Page ID #:67




  Payment Schedule:

  Completion                    Payment Due

   Pour Concrete foundation          (1) $2,000.00

   Install Waterfall                 (2) $4,000.00

   Final Walk-Through                (3) $800.00




  Final project amount is due and payable upon completion of the project and final walk through.
  Landscaper reserves the right to cease all work and remove all equipment, material and labor
  from job site in the event interim payments are not received when due. Interest will accrue at the
  rate of one-half percent (1 1/2%) per month on any past due invoices.


  Other Terms & Conditions

  If client's payments to landscaper are not made on a timely basis, landscaper reserves the right to
  not provide additional services until all payments are current in accordance with the payment
  schedule of this proposal letter.

  This agreement may be modified only in writing with the consent of all parties. Any dispute or
  claim arising out of this agreement shall be decided by binding arbitration in accordance with the
  rules of the American arbitration association and not by court action except as provided by
  California law for judicial review of arbitration proceedings.

  Any court having jurisdiction may enter judgment upon the award rendered by the arbitrator(s).
  The parties shall have the right of discovery in accordance with California code of civil
  procedure, section 1283.05.

  If either party should bring arbitration against the other arising out of this agreement, the
  prevailing party shall be entitled to recover reasonable attorneys' fees and costs

  Either party for any reason with a minimum of two (2) weeks prior written notice, providing the
  project has not been started may cancel this agreement.

  In the event this agreement is cancelled client agrees to reimburse landscaper for time and
  materials up to and including the last day of the project, upon presentations of a final billing.

  It is anticipated that the work outlined above can be completed in a period not-to-exceed ten (10)
  days of on-site work, excluding weekends. Saturday work will be done only upon agreement of
  both parties.
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 68 of 142 Page ID #:68




  Landscape shall not be responsible for delays due to acts of nature, including rain, flooding,
  earthquake, etc. or inaccessibility to property beyond landscapers control.

  The project would be tentatively scheduled to begin on ________________ 2019. A firm date
  will be decided one both parties have signed this agreement. Landscaper reserves the right to
  withdraw this proposal if not accepted within 10 days of date of presentation.

  Acceptance of proposal: the above prices, specifications, and condition are satisfactory and are
  hereby accepted. You are authorized to do the work as specified. Payment will be made as
  outlined above.




  Please sign, date and return a copy of this agreement to this office with your retainer payment.

  i Construction                                           Ms. Tina Williams




  By: _____________________                                 By: _________________

      Ivan Lopez                                              Date: __________, 2019
                                                                                  INVOICE
          Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 69 of 142 Page ID #:69

                                                                     To view your Insert
                                                                                         Page 1 of 2


                                                                     Click the link below:                      Customer ID:                                                   8-36598-25001
                                                                       INSERT1                                  Customer Name:                                                        TINA WILLIAMS
                                                                                                                Service Period:                                                  07/01/19-09/30/19
                                                                                                                Invoice Date:                                                           07/01/2019
                                                                                                                Invoice Number:                                                    5483982-0160-6


                        How To Contact Us                                                  Your Payment Is Due                                                     Your Total Due


                      Visit wm.com                                                  Due Upon Receipt                                                              $127.90
                To setup your online profile, sign up for paperless
           statements, manage your account, view holiday schedules,
                      pay your invoice or schedule a pickup
                                                                              If full payment of the invoiced amount is not received
                                                                              within your contractual terms, you may be charged a
                                                                              monthly late charge of 2.5% of the unpaid amount, with a
                                                                              minimum monthly charge of $5, or such late charge
                             Customer Service:                                allowed under applicable law, regulation or contract.                See Reverse for Important Messages
                            (661) 259-2398



          Previous Balance                               Payments                                Adjustments                            Current Charges                                 Total Due
                    72.04                  +                  0.00                   +                  0.00                  +                  55.86                   =               127.90

         Details for Service Location:                                                                                            Customer ID:             8-36598-25001
         Williams, Tina, 21444 Peggy Joyce Ln, Santa Clarita CA 91350-1723

         Description                                                                                                   Date               Ticket               Quantity                     Amount
         96 Gallon toter recycle                                                                                     07/01/19                                         1.00                             0.00
         96 Gallon cart service - green waste                                                                        07/01/19                                         1.00                             0.00
         96 Gallon toter                                                                                             07/01/19                                         1.00                            55.86
            Total Current Charges                                                                                                                                                                     55.86




    - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - Please detach and send the lower portion with payment - - - (no cash or staples) - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

                                                                                             Invoice Date                            Invoice Number                               Customer ID
                                                                                                                                                                         (Include with your payment)
                                                                                               07/01/2019                             5483982-0160-6                              8-36598-25001
           WASTE MANAGEMENT
           BLUE BARREL DISPOSAL                                                           Payment Terms                                  Total Due                                    Amount
           PO BOX 43530                                                             Due Upon Receipt                                        $127.90
           PHOENIX, AZ 85080
           (661) 259-2398
           (818) 367-5828
            (661) 274-4289 FAX




                                                0160000083659825001054839820000000558600000012790 7

                                                           I0156R90
                                                                                                                                                                                                                     160-0108281-0160-9




             TINA WILLIAMS                                                                                                   WASTE MANAGEMENT - BLUE BARREL
             21444 PEGGY JOYCE LN                                                                                            PO BOX 541008
             SANTA CLARITA CA 91350-1723                                                                                     LOS ANGELES, CA 90054-1008




SLMR 0055385
                Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 70 of 142 Page ID #:70Page 2 of 2
                                                                                                         IMPORTANT MESSAGES
         This invoice constitutes an offer by WM to provide service to you for a specified period. By paying this,
         you agree to continue service during the specified service period, with no refund (whole or partial) for
         early cancellation, unless such refund is required by law, regulation or contract. If you cancel services, you
         will be assessed a Cart Removal charge of up to $75.
         Your enclosed invoice contains an increase to your service rate (next invoice for some customers billed in arrears). This price increase is in accordance with your
         applicable service terms, whether franchise, government regulated, subscription or individual service agreement. For residential subscription customers, our service
         rate may change from billing period to billing period, at our discretion. Contact us if you have any questions.
         ATTN SANTA CLARITA RESIDENTS: Disregard other late fee/due date language on bill. If payment isn't received within 15 days from end of service period, a 1.5%
         late fee will be charged. A resume fee may be charged to restart suspended service.




               5 EASY WAYS TO PAY                                                                                                                               HOW TO READ YOUR INVOICE
               Automatic Payment                                                    How To Contact Us                                  Your Payment Is Due                                      Your Total Due                                States the date payment is due to Waste
               Set up recurring payments with us at                                                                                                                                                                                           Management. Anything beyond that date may
               wm.com/myaccount.                                                    Visit wm.com                                                                                                                                          1   incur additional charges. Your Total Due is the
                                                                                To set up your online profile, sign up for            August 19, 2017                                             $124.73                                     total amount of current charges and any
               Pay Through Your Financial Institution
                                                                                                                                                                                     1
                                                                                paperless billing, manage your account,
                                                                                view holidays schedules, pay your bill or
                                                                                                                                  If full payment of the invoiced amount is not             If payment is received after
                                                                                                                                                                                                                                              previous unpaid balances combined.
               Make a payment from your financial institution using                        schedule a pickup.
                                                                                                                                   received by the invoice due date, you will be              08/19/2017 : $126.60
               your Customer ID.                                                                                                  charged a monthly late charge of 2.5% of the
                                                                                                                                    unpaid amount, with a minimum charge of                 See reverse for important messages.               Previous balance is the total due from your
                                                                                                                                     $5.00, or such lesser late charge allowed
                                                                                           Customer Service:                       under applicable law, regulation or contract.                                                              previous invoice. We subtract any Payments
                                                                                          (866) 909-4458
               One-Time Payment                                                                                                                                                                                                               Received/Adjustments and add your
               At your desk or on the go, use wm.com or our WM                                                                                                                                                                                Current Charges from this billing cycle to
               mobile app for a quick and easy payment.                        297.12
                                                                            Previous Balance                       Payments
                                                                                                                     (97.12)
                                                                                                                                                Adjustments
                                                                                                                                                     0.00
                                                                                                                                                                                   Current Charges
                                                                                                                                                                                       124.73
                                                                                                                                                                                                                   Total Due
                                                                                                                                                                                                                    124.73
                                                                                                                                                                                                                                          2   get a Total Due on this invoice. If you have
               Pay by Phone                                                Details for Service Location:                                                                   Customer ID:     2-82290-00885                                     not paid all or a portion of your previous
                                                                           311 Jackson Street, Stockton CA 95205                                                           PO Numbers:      45693
               Payable 24/7 using our automated system at                                                                                                                                                                                     balance, please pay the entire Total Due to
               866-964-2729.                                               Description                                                                             Date            Ticket       Quantity               Amount                 avoid a late charge or service interruption.
                                                                           96 Gallon Toter                                                                       07/01/17                                1.00                     90.00
                                                                               3
                                                                           96 Gallon Toter Recycle                                                               07/01/17                                1.00                      0.00
                                                                                                                                                                                                                                              Service location details the total current
               Mail it                                                                                                                                                                                                                    3
                                                                           Extra Pickup Service                                                                  07/01/17           5934                 1.00                     15.00
                                                                           Fuel/Environmental Charge                                                                                                                              19.73
               Write it, stuff it, stamp it, mail it. Envelope provided.   Total Current Charges                                                                                                                             124.73
                                                                                                                                                                                                                                              charges of this invoice.




If your service is suspended for non-payment, you may be charged a Resume charge to restart your service. For each returned check, a charge will be assessed on your next invoice equal to the maximum amount permitted by
applicable state law.


         CHECK HERE TO CHANGE CONTACT INFO                                                                                       CHECK HERE TO SIGN UP FOR AUTOMATIC PAYMENT ENROLLMENT
   List your new billing information below. For a change of service address,                                                 If I enroll in Automatic Payment services, I authorize Waste Management to pay my invoice by electronically
   please contact Waste Management.                                                                                          deducting money from my bank account. I can cancel authorization by notifying Waste Management at
                                                                                                                             wm.com or by calling the customer service number listed on my invoice. Your enrollment could take 1-2
   Address 1                                                                                                                 billing cycles for Automatic Payments to take effect. Continue to submit payment until page one of your
                                                                                                                             invoice reflects that your payment will be deducted.
   Address 2
   City
   State
                                                                                                                             Email Address
   Zip
   Email                                                                                                                     Date
   Date Valid                                                                                                                Bank Account Holder Signature


NOTICE: By sending your check, you are authorizing the Company to use information on your check to make a one-time electronic debit to your account at the financial institution indicated on your check. The
electronic debit will be for the amount of your check and may occur as soon as the same day we receive your check.


In order for us to service your account or to collect any amounts you may owe (for non-marketing or solicitation purposes), we may contact you by telephone at any telephone number that you provided in connection
with your account, including wireless telephone numbers, which could result in charges to you. Methods of contact may include text messages and using pre-recorded/artificial voice messages and/or use of an
automatic dialing device, as applicable. We may also contact you by email or other methods as provided in our contract.


Please send all bankruptcy correspondence to PO Box 43290, Phoenix, AZ 85080 (this language is in compliance with 11 USC 342(c)(2) of the Bankruptcy Code)
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 71 of 142 Page ID #:71
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 72 of 142 Page ID #:72
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 73 of 142 Page ID #:73




          Final Details for Order #113-3305529-3051410
                          Print this page for your records.

     Order Placed: July 10, 2019
     Amazon.com order number: 113-3305529-3051410
     Order Total: $38.27

                          Shipped on July 10, 2019

      Items Ordered                                                 Price
      1 of: Pool Patch PTSRKW3 White Pool Tile Setting Repair Kit, $34.95
      3-Pound
      Sold by: Amazon.com Services, Inc

      Condition: New
      Shipping Address:
                                                      Item(s) Subtotal: $34.95
      Tina Williams
                                                  Shipping & Handling: $0.00
      21444 PEGGY JOYCE LN
                                                                           -----
      SANTA CLARITA, CALIFORNIA
                                                       Total before tax: $34.95
      91350-1723
                                                             Sales Tax: $3.32
      United States
                                                                           -----
                                             Total for This Shipment:$38.27
      Shipping Speed:                                                      -----
      One-Day Shipping


                             Payment information
      Payment Method:                                 Item(s) Subtotal: $34.95
      Visa | Last digits: 8067                    Shipping & Handling: $0.00
                                                                           -----
      Billing address                                  Total before tax: $34.95
                                          Estimated tax to be collected: $3.32
      Tina Williams                                                        -----
      21444 PEGGY JOYCE LN                                Grand Total:$38.27
      SANTA CLARITA,
      CALIFORNIA 91350-1723
      United States
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 74 of 142 Page ID #:74




      Credit Card
                                    Visa ending in 8067: July 10, 2019:$38.27
      transactions

           To view the status of your order, return to Order Summary.



      Conditions of Use | Privacy Notice © 1996-2019, Amazon.com, Inc. or its affiliates
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 75 of 142 Page ID #:75
        Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 76 of 142 Page ID #:76

 Sigma Pool Service
                                                           Estimate
 P.O. Box 800025
 Santa Clarita, CA 91380 US
 (661) 505-3061
 sigmapoolservice@gmail.com



                ADDRESS
                Tina Williams
                21444 Peggy Joyce Ln
                Saugus, CA 91350



ESTIMATE #                  DATE
1007                        06/27/2019




ITEM                           DESCRIPTION                                                     AMOUNT

Equipment Installation         Pool Filer 60 sqft                                              1,100.00
Equipment Installation         Pool heater 300,000 BTU                                         2,900.00
Equipment Installation         Variable Speed Pool Pump 3HP                                    1,600.00
Equipment Installation         Pool Electrical Sub-panel : Panel, breakers, GFCI breakers       700.00
Pool equipment pad clean up is not included.                           TOTAL
10% is due at signing.                                                                      $6,300.00




Accepted By                                                             Accepted Date
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 77 of 142 Page ID #:77




  i Construction
  “Building Your Vision”
  24752 Newhall Ave
  Newhall CA 91321
  Telephone: (661) 510 - 8554


                             Landscape and Hardscape Proposal
                                   For the residence of:

                                  Ms. Tina Williams
                              21444 Peggy Joyce Lane
                                 Saugus, CA 91350
                          Email: Badassshoestore@gmail.com
                                 Phone: (661) 312-1270
                                   October 14,
  2019

  Landscape and Hardscape Services
  i Construction, ("landscaper") proposes to provide Ms. Tina Williams. ("Client") with
  equipment and labor to complete the scope of services outlined below. Once the proposal is
  accepted any changes requested by the Client will require a change order signed by both parties
  before any work can be initiated.

   SCOPE OF SERVICES                                                                    COST
   1.Shipwreck: Contractor will install shipwreck on rear side of residence,            $4,000.00
   homeowner to provide material
   TOTAL PROJECT COST                                                                   $4,000.00

  COSTS:
  Cost for the project will be Four Thousand Dollars ($4,000.00). A deposit in the amount of two
  hundred ($200.00) is due at the time the proposal is accepted and signed by both parties. This
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 78 of 142 Page ID #:78




  deposit will be credited to our final billing. The remaining portion of the fee, ($3,800.00), is
  due and payable as scheduled.

  Payment Schedule:

  Completion                    Payment Due

   Remove Debris & Haul Away (1) $1,000.00

   Install Shipwreck                 (2) $3,000.00

   Final Walk-Through                (4) $800.00




  Final project amount is due and payable upon completion of the project and final walk through.
  Landscaper reserves the right to cease all work and remove all equipment, material and labor
  from job site in the event interim payments are not received when due. Interest will accrue at the
  rate of one-half percent (1 1/2%) per month on any past due invoices.


  Other Terms & Conditions

  If client's payments to landscaper are not made on a timely basis, landscaper reserves the right to
  not provide additional services until all payments are current in accordance with the payment
  schedule of this proposal letter.

  This agreement may be modified only in writing with the consent of all parties. Any dispute or
  claim arising out of this agreement shall be decided by binding arbitration in accordance with the
  rules of the American arbitration association and not by court action except as provided by
  California law for judicial review of arbitration proceedings.

  Any court having jurisdiction may enter judgment upon the award rendered by the arbitrator(s).
  The parties shall have the right of discovery in accordance with California code of civil
  procedure, section 1283.05.

  If either party should bring arbitration against the other arising out of this agreement, the
  prevailing party shall be entitled to recover reasonable attorneys' fees and costs

  Either party for any reason with a minimum of two (2) weeks prior written notice, providing the
  project has not been started may cancel this agreement.

  In the event this agreement is cancelled client agrees to reimburse landscaper for time and
  materials up to and including the last day of the project, upon presentations of a final billing.
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 79 of 142 Page ID #:79




  It is anticipated that the work outlined above can be completed in a period not-to-exceed ten (10)
  days of on-site work, excluding weekends. Saturday work will be done only upon agreement of
  both parties.

  Landscape shall not be responsible for delays due to acts of nature, including rain, flooding,
  earthquake, etc. or inaccessibility to property beyond landscapers control.

  The project would be tentatively scheduled to begin on ________________ 2019. A firm date
  will be decided one both parties have signed this agreement. Landscaper reserves the right to
  withdraw this proposal if not accepted within 10 days of date of presentation.

  Acceptance of proposal: the above prices, specifications, and condition are satisfactory and are
  hereby accepted. You are authorized to do the work as specified. Payment will be made as
  outlined above.




  Please sign, date and return a copy of this agreement to this office with your retainer payment.

  i Construction                                           Ms. Tina Williams




  By: _____________________                                 By: _________________

      Ivan Lopez                                              Date: __________, 2019
cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 80 of 142 Pa
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 81 of 142 Page ID #:81




           Contractors State License # 1030367
     22900 Oak Ridge Dr #62, Santa Clarita, CA, 91350
  Addendum for Home improvement contract
       ▪ Client Name: Tina Williams

       ▪ Project address: 21444 Peggy Joyce Ln, Santa
       Clarita, CA, 91350

       ▪ General Project description: Pool and spa
       project base on the leak detection report
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 82 of 142 Page ID #:82




  The following is submitted and directed by the property
  owner or the design team with regard to this project.
  Document have been reviewed in limited detailed as
  noted per this Scope to perform action enclosed .
  We have projected that this project should take
  approximately 10-30 business days from the start date
  of construction if no holdups during construction do on
  unforeseen weather conditions or material delays in
  addition if client delays important construction decisions
  that can cause delays. It is our goal to complete the
  project in the shortest period of time while still retaining
  the quality that we are known for.
  We would like to thank the Homeowners and everyone
  involved in this project for allowing us this opportunity
  to be of service and a part of this great project. We are
  looking forward to work with you.
  A.S Builders Group Inc.
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 83 of 142 Page ID #:83




  Preparation:
  Project Description:

   1. Order rough and finish materials before starting the
      project.


   2. Cover Job site area and approve with the
      homeowner.


   3. Pull permit homeowner will pay the city fee.


   4. Order a dumpster truck


   5. Homeowner will provide: Tile and grout

    6. Demo the existing patio floor in order to fix the
       leaking pipe. Note: The price is not including to
       remove all the patio


  Preparation price: $1,446.00
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 84 of 142 Page ID #:84




  Job Process:

  Pool project:
   1. Returns: Cut concrete around the pool approximate 16”-24” wide
      trench, install 3 return’s pipes and 1 automatic vacuum suction.
      plumbing around the pool to equipment ( with pressure test in
      new returns pipes)
  TOTAL (LABOR AND MATERIAL) $3,192.00




  SPA project:
   1. Work only on return jets and change Ortega valve, cut concrete
      around spa approximate 16¨ to 24¨ wide and install new pipes
      around the spa and from the spa to the pool/spa equipment (with
      pressure test and new plumbing)
  TOTAL (LABOR AND MATERIAL) $3,192.00
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 85 of 142 Page ID #:85




  Pool and spa re-plaster project: (Fix leaks)
  Drain water, chip all the existing plaster and install new plaster on pool
  and spa, regular white plaster for pool and spa. (NEW PLASTER
  NEED STAR UP. STAR UP IS INCLUDED IN THE PRICE)
  TOTAL (LABOR AND MATERIAL) $7,973.00




  Tile project:
  Brake old tile, clean base, work on the tile base, speed mix, tinset,
  install with ground around the pool and spa, water level tile.
  TOTAL (NOT INCLUDE MATERIAL ONLY LABOR) $1,486.00
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 86 of 142 Page ID #:86




  Customer agree’s to make all payment to: A.S Builders
  Group Inc. A contractor may require a down payment.
  Down payment: The down payment may not exceed
  $1,000.00 or 10 percent of the contract price ,
  whichever is less. Any changes or modification off this
  contract will be an additional charge, as agreed
  between contractor and client.
  Upon acceptance of this Addendum to Contract and in
  acceptance with the terms of the original contract, the
  client agrees to pay A.S Builders Group Inc. the sum of
  $17,289.00
  Home owner (print name):___________________
  Sign :___________________________
  Date:____________


  Project manager (print name):________________
  Sign:___________________________
  Date:____________
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 87 of 142 Page ID #:87
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 88 of 142 Page ID #:88
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 89 of 142 Page ID #:89
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 90 of 142 Page ID #:90
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 91 of 142 Page ID #:91
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 92 of 142 Page ID #:92
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 93 of 142 Page ID #:93
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 94 of 142 Page ID #:94
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 95 of 142 Page ID #:95
e 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 96 of 142 Page ID #
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 97 of 142 Page ID #:97




  i Construction
  “Building Your Vision”
  24752 Newhall Ave
  Newhall CA 91321
  Telephone: (661) 510 - 8554


                             Landscape and Hardscape Proposal
                                   For the residence of:

                                  Ms. Tina Williams
                              21444 Peggy Joyce Lane
                                 Saugus, CA 91350
                          Email: Badassshoestore@gmail.com
                              Phone: (661) 312-1270
                               October 15, 2019

  Landscape and Hardscape Services
  i Construction, ("landscaper") proposes to provide Ms. Tina Williams. ("Client") with
  equipment and labor to complete the scope of services outlined below. Once the proposal is
  accepted any changes requested by the Client will require a change order signed by both parties
  before any work can be initiated.

   SCOPE OF SERVICES                                                                    COST
   1.Plants:                                                                            $1,730.00
   #6 15 gallon yellow climbing bank roses @ $80.00 each
   #50 5 gallon agapanthus purple blue color @ $25.00 each
   Contractor will install plants where homeowner desires.
   2. Sand: Contractor will remove and haul away any debris where sand will be          $2,500.00
   installed, 50 lbs sand bags will be installed on slope. Homeowner to provide Sand.
   3. Irrigation: Modify irrigation repair any sprinklers that are damaged/broken on    $1,500.00
   slope. Homeowner to provide materials needed.
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 98 of 142 Page ID #:98




   4. Low Voltage: Contractor will provide 12-2 awg and pre-wire and install lighting      $1,000.00
   fixtures homeowner to provide lighting fixtures and transformer
   TOTAL PROJECT COST                                                                      $6,730.00

  COSTS:
  Cost for the project will be Six Thousand Seven Hundred Thirty Dollars ($6,730.00). A deposit
  in the amount of two hundred ($200.00) is due at the time the proposal is accepted and signed
  by both parties. This deposit will be credited to our final billing. The remaining portion of the
  fee, ($6,530.00), is due and payable as scheduled.

  Payment Schedule:

  Completion                   Payment Due

   Remove Debris & Haul Away (1) $1,000.00

   Install Plants                   (2) $2,000.00

  Install Sand                      (3) $2,500.00

   Final Walk-Through               (4) $1,030.00




  Final project amount is due and payable upon completion of the project and final walk through.
  Landscaper reserves the right to cease all work and remove all equipment, material and labor
  from job site in the event interim payments are not received when due. Interest will accrue at the
  rate of one-half percent (1 1/2%) per month on any past due invoices.


  Other Terms & Conditions

  If client's payments to landscaper are not made on a timely basis, landscaper reserves the right to
  not provide additional services until all payments are current in accordance with the payment
  schedule of this proposal letter.

  This agreement may be modified only in writing with the consent of all parties. Any dispute or
  claim arising out of this agreement shall be decided by binding arbitration in accordance with the
  rules of the American arbitration association and not by court action except as provided by
  California law for judicial review of arbitration proceedings.

  Any court having jurisdiction may enter judgment upon the award rendered by the arbitrator(s).
  The parties shall have the right of discovery in accordance with California code of civil
  procedure, section 1283.05.
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 99 of 142 Page ID #:99




  If either party should bring arbitration against the other arising out of this agreement, the
  prevailing party shall be entitled to recover reasonable attorneys' fees and costs

  Either party for any reason with a minimum of two (2) weeks prior written notice, providing the
  project has not been started may cancel this agreement.

  In the event this agreement is cancelled client agrees to reimburse landscaper for time and
  materials up to and including the last day of the project, upon presentations of a final billing.

  It is anticipated that the work outlined above can be completed in a period not-to-exceed ten (10)
  days of on-site work, excluding weekends. Saturday work will be done only upon agreement of
  both parties.

  Landscape shall not be responsible for delays due to acts of nature, including rain, flooding,
  earthquake, etc. or inaccessibility to property beyond landscapers control.

  The project would be tentatively scheduled to begin on ________________ 2019. A firm date
  will be decided one both parties have signed this agreement. Landscaper reserves the right to
  withdraw this proposal if not accepted within 10 days of date of presentation.

  Acceptance of proposal: the above prices, specifications, and condition are satisfactory and are
  hereby accepted. You are authorized to do the work as specified. Payment will be made as
  outlined above.




  Please sign, date and return a copy of this agreement to this office with your retainer payment.

  i Construction                                             Ms. Tina Williams




  By: _____________________                                   By: _________________

      Ivan Lopez                                               Date: __________, 2019
      Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 100 of 142 Page ID #:100
                                                      Estimate
                                                                                                             Estimate Date: 9/26/19
                                                                                                             Estimate No. 0056-5011

                                                                                                             Customer/Client:
SERVIZ                                                                                                       Tina Williams
15350 Sherman Way Suite 250                                                                                  21444 Peggy Joyce Ln
Van Nuys, CA 91406                                                                                           Santa Clarita, CA 91350
Email: support@serviz.com
Phone: (844) 473-7849                                                                                        Estimate Total                       $2,854.95 USD
Estimate Prepared by Ricardo Velasquez
18958 Parthenia Apt #2, North Ridge, CA 91324




SKUs
  Item                   Description                                                                                        Unit Cost          Qty                     Total

  2054                   Outside lighting new wiring 10 x led landscape and transformer installation                        $2,500.00              1              $2,500.00
                         2,500.00 10x180=1,800 700 for low voltage system to panel

  7064                   SERVIZ Protection Fee                                                                                    $4.95            1                   $4.95

  2054                   2 pool lights 175x2=350 If new re wire needs to be ran Add 75 per fixture                              $350.00            1                $350.00




                                 Use of the SERVIZ Platform is governed by the SERVIZ Terms and Conditions (www.serviz.com/terms).


                                                                                                                                       Subtotal                   $2,854.95
                                                                                                                                            Tax                        $0.00
                                                                                                                                Estimate Total                    $2,854.95


                                                                                                                      Any discounts that are used or expired before this
                                                                                                                      job is completed will not be applied to the final
                                                                                                                      invoice. Discounts will be applied at the time of
                                                                                                                      payment.




                   This job is backed by the SERVIZ Consumer Protection Plan
                   We stand behind the quality of our referred pros. If you're not satisfied,
                   we guarantee that we will send out another pro or refund 100% of the money
                   you paid to SERVIZ. Terms and Conditions Apply.
                   (www.serviz.com/consumer-protection-plan )
                                                                                                                                      We want your opinion!
Payment For Service Order: Upon the conclusion of the Services you will pay SERVIZ in full for the Services.                          Don't forget to visit your status page to
You may pay by credit card or by check. If payment is not made, the amount owed shall incur interest at the                           "rate us" and tell us how your job went.
rate of 1.5% per month (or the highest rate permitted by law, if less) until all amounts owed, including the
interest, have been paid in full. In addition, as provided in the Serviz Consumer Terms and Conditions, in any
dispute over the collection of any amounts owed to Serviz, the prevailing party shall be entitled to recover its
reasonable legal fees and expenses.                                                                                                                                 Page 1 of 1
           Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 101 of 142 Page ID #:101

                                                   For billing and service inquiries
                                                   1-800-684-8123
                                                                                                                       Your electricity bill
                                                   www.sce.com
                                                                                                                                  WILLIAMS, TINA / Page 1 of 4



     Customer account                        Rotating outage
     2-27-902-1554                           Group A052
                                                                                                                     Amount due $1,755.65
     Service account                         Date bill prepared
     3-027-2192-53                           04/16/19
     21444 PEGGY JOYCE LN
     SAUGUS, CA 91350


     PAST DUE
     Your account summary
                                                                                                      In order to pay your total payment arrangement
     Your previous balance                                                           $1,892.58        balance of $1,587.80 on time, you will need to pay:
     Payment Received 04/01/19                                                        -$304.78        • $100.00 by 05/06/19
     Payment arrangement balance                                                     $1,587.80        • $100.00 by 06/04/19
     Your new charges                                                                  $155.20        • $1,387.80 by agreed upon future dates
     Late payment charge                                                                $12.65        Your total new charges of $167.85 are due by
     Total amount you owe                                                           $1,755.65         05/06/19.
                                                                                                      Your payment arrangement will be cancelled if we do
                                                                                                      not receive your payments by 5 p.m. on the dates
                                                                                                      specified and your service may be disconnected
                                                                                                      without further notice.




     You Received a California Climate Credit
     California is fighting climate change and so can you! Your bill includes a Climate Credit from a state program to cut carbon pollution while
     also reducing your energy costs. Find out how at EnergyUpgradeCA.org/credit.



     Your past and current electricity usage
     For meter 222013-532080 from 03/14/19 to 04/12/19                                                Your next billing cycle will end on or about 05/14/19.
     Total estimated electricity usage this month in kWh                                     863




                           Please return the payment stub below with your payment and make your check payable to Southern California Edison.
                                   If you want to pay in person, call 1-800-747-8908 for locations, or you can pay online at www.sce.com.
(14-574)       Tear here                                                                                                                       Tear here

                                Customer account 2-27-902-1554                                       Payment arrangement amount                            $1,587.80
                                Please write this number on the memo line                            New charges - pay by 05/06/19                           $167.85
                                of your check. Make your check payable to
                                Southern California Edison.                                          Total amount you owe                                  $1,755.65

                                                                                                     Amount enclosed                    $


             STMT 04162019 P1


             WILLIAMS, TINA
             21444 PEGGY JOYCE LN
                                                                                                               P.O. BOX 600
             SAUGUS, CA 91350-1723
                                                                                                               ROSEMEAD, CA 91771-0001


                                             27 902 1554 00000015 000158780000016785000175565
           Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 102 of 142   Page ID #:102
                                                                             WILLIAMS, TINA / Page 2 of 4




    Important information
    What are my options for paying my bill?                                                   Disputed bills
       On-line       Pay one-time or recurring on www.sce.com/bill                            If you believe there is an error on your bill or have a question about your
       Mail-in       Check or Money order                                                     service, please call Southern California Edison (SCE) customer support at
    In Person        Authorized payment locations        1-800-747-8908                       1-800-655-4555. If you are not satisfied with SCE’s response, submit a complaint
       Phone         QuickCheck                          1-800-950-2356                       to the California Public Utilities Commission (CPUC) at www.cpuc.ca.gov/
                     Debit & credit card *               1-800-254-4123                       complaints/. The CPUC’s Consumer Affairs Branch (CAB) handles billing and
                                                                                              service complaints and can be reached by:
                     *Residential customers only
                                                                                              Telephone 1-800-649-7570 (8:30 AM - 4:30 PM, Monday - Friday)
    Electronic check processing                                                               Mail         CPUC, Consumer Affairs Branch, 505 Van Ness Ave., Room 2003,
    Your check payment will be processed as a one-time Electronic Fund Transfer                           San Francisco, CA 94102
    (EFT). With EFTs, funds may be withdrawn from your account the day we receive              If you have limitations hearing or speaking, contact the California Relay Service,
    your payment. Your check will not be returned, but will appear on your financial          which is for those needing assistance relaying telephone conversations. Dial 711
    statement.                                                                                or one of the numbers below to be routed to a California Relay Service provider in
    Rates and applicable rules: Available at www.sce.com or upon request.                     your preferred mode of communication.
    Past due bills
                                                                                               Type of Call                  English                   Spanish
    When is my bill past due? It is past due 19 days after the preparation date, which
    was 04/16/19.                                                                              TTY/VCO/HCO to Voice          1-800-735-2929            1-800-855-3000
    • Reconnecting service that has been disconnected requires a Service Connection
      payment.                                                                                 Voice to TTY/VCO/HCO          1-800-735-2922            1-800-855-3000
    • Unable to pay: If payment arrangements were not extended to you by SCE                   Speech-to-Speech Relay        1-800-854-7784            1-800-854-7784
      pursuant to SCE’s filed tariffs, you may contact the California Public Utilities
                                                                                              To avoid having service turned off while waiting for the outcome of a complaint to
      Commission.
                                                                                              the CPUC regarding the accuracy of your bill, contact CAB for assistance. If your
    • For safety reasons, if service is disconnected, please ensure any sensitive or
      potentially hazardous equipment is unplugged on the day of reconnection. For            case meets the eligibility criteria, CAB will instruct you on how to mail a check or
      additional home safety tips, visit www.sce.com/safety or call SCE at                    money order to be impounded pending resolution of your case. You must continue
      1-800-655-4555.                                                                         to pay your current charges while your complaint is reviewed to keep your service
                                                                                              turned on.
    What is the Late Payment Charge (LPC)?
    0.8% will be applied to the total unpaid balance if payment is not received by the        Definitions
    due date on this bill (except for CARE and state agency accounts).                        • CA Climate Credit: Credit from state effort to fight climate change. Applied
    What is a rotating outage?                                                                  monthly to eligible businesses and semi-annually to residents.
    Rotating outages are controlled electrical outages used to avoid widespread or            • DWR Bond Charge: Bonds issued by the Department of Water Resources
    uncontrolled blackouts. Your Rotating Outage Group number is located on page 1,             (DWR) to cover the cost of buying power during the energy crisis are being
    upper left, of your SCE bill. Your rotating outage group number may change at any           repaid through this charge.
    time. For more information, visit www.sce.com/rotating outage.                            • Public Purpose Programs Charge: Funds state-mandated programs for low
                                                                                                income discounts, energy efficiency, renewable energy and R&D.
                                                                                              • SCE Generation: For recovering energy procurement and generation costs for
                                                                                                that portion of your energy provided by SCE.




                       To change your contact information or enroll in SCE's payment option, complete the form below and return it in the enclosed envelope.




Change of mailing address: 2-27-902-1554                                                       Direct Payment (Automatic Debit) Enrollment: 2-27-902-1554
 STREET#           STREET NAME                                         APARTMENT #             I hereby authorize SCE and my financial institution to automatically deduct my
                                                                                               monthly payment from the checking account as shown on my enclosed check, ten
 CITY                                                 STATE            ZIP CODE                calendar days after my bill is mailed.

                                                                                               Signature _____________________________________ Date ____________
 TELEPHONE #                               E-MAIL ADDRESS
                                                                                               To change your checking account information or to be removed from the Direct
                                                                                               Payment program please call SCE at 1-800-655-4555.


           Energy Assistance Fund (EAF): I want to help people pay their energy bill through EAF. For info visit www.sce.com/eaf or call (800) 205-8596.
           Round-up my bill to next whole dollar amount for EAF           Add this amount for EAF $ __________________         Select one box only and sign below for EAF:
                      Every                     One Month                             Every                     One Month
                      Month                     only                                  Month                     only           __________________________
 Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 103 of 142 Page ID #:103



                                                                                                         WILLIAMS, TINA / Page 3 of 4



Your daily average electricity usage (kWh)
2 Years ago: 44.00           Last year: 193.20              This year: 29.76
      193


      129


       64


        0
              Mar Mar Apr May Jun     Jul   Aug Sep Oct Nov Dec Jan Feb Mar
              '17 '18 '18 '18 '18     '18   '18 '18 '18 '18 '18 '19 '19 '19



Details of your new charges
Your rate: DOMESTIC
Billing period: 03/14/19 to 04/12/19 (29 days)

Delivery charges - Cost to deliver your electricity
                                                                                                  Your Delivery charges include:
Basic charge                              29 days x $0.03100                              $0.90
                                                                                                  · $12.86 transmission charges
Energy-Winter
                                                                                                  · $73.66 distribution charges
  Tier 1 (100% of baseline)              357 kWh x $0.09505                              $33.93
                                                                                                  · $0.04 nuclear decommissioning
  Tier 2 (101% to 400%)                  506 kWh x $0.14799                              $74.88
                                                                                                    charges
DWR bond charge                          863 kWh x $0.00503                               $4.34
                                                                                                  · $5.54 conservation incentive
CA Climate Credit                                                                       -$33.00
                                                                                                    adjustment
Generation charges - Cost to generate your electricity                                            · $11.92 public purpose programs
DWR                                                                                                 charge
DWR energy credit                      863 kWh x -$0.00007                               -$0.06   · $5.31 new system generation charge
SCE
Energy-Winter                                                                                     Your Generation charges include:
                                                                                                  · $0.65 competition transition charge
  Tier 1 (100% of baseline)            357 kWh x $0.08570                               $30.59
  Tier 2 (101% to 400%)                506 kWh x $0.08570                               $43.36
                                                                                                  Your overall energy charges include:
Subtotal of your new charges                                                           $154.94    · $1.41 franchise fees
State tax                                   863 kWh x $0.00030                           $0.26
Your new charges                                                                       $155.20    Additional information:
                                                                                                  · Service voltage: 240 volts
                                                                                                  · Your winter baseline allowance: 357.0
                                                                                                    kWh
                                                                                                  · High Usage Charge applies to all
                                                                                                    usage above 400% of baseline
                                                                                                    allowance.



Your Total Usage:       863 kWh                    Tier 1                             Tier 2                         High Usage Charge
Understanding Your Bill...                       357 kWh                             506 kWh                                0 kWh
Your usage for the billing period falls
into Tier 2. For most customers, the
price you pay increases as you use               $0.19/kWh                          $0.24/kWh                            $0.42/kWh
more energy. The average cost per
kilowatt (kWh) in the chart to the right
is based on averages. Actual prices                                              Your Total Usage
may vary.                                                                            863 kWh
                                                                 High Usage Charge - Learn more at on.sce.com/highuse
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 104 of 142   Page ID #:104
                                                                  WILLIAMS, TINA / Page 4 of 4
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 105 of 142 Page ID #:105


                                                                                                  INVOICE
                                                                                                    INVOICE 018988
                                                                                                   DATE: JULY, 2019
 28961 Rue Daniel
 Canyon Country, California 91387
 (661) 373-5236

 TO:
 Tina Williams
 21444 Peggy Joyce Lane
 Santa Clarita, California 91350
 (661) 312-1270



 COMMENTS OR SPECIAL INSTRUCTIONS:

 Customer concerned over yellow tag posted by City of Santa Clarita. Shoring to be according to City of Santa Clarita
 Code and Regulations. City inspector to visit home upon completion to validate work completed meets with City
 regulations in order to remove hazard.



     QUANTITY                                   DESCRIPTION                              UNIT PRICE         TOTAL

                        Shoring and support of 10 ft.h x 57 ft. w partially
          1                                                                                $5500.00         $5500.00
                        collapsed concrete wall.

                        Senior Discount 10%                                                ($550.00)       ($550.00)

                        Total Due Upon Completion                                          $4950.00         $4950.00



                        Paid Cash                                                         ($4950.00)      ($4950.00)

                        Paid in Full




                                                                                          SUBTOTAL               N/A

                                                                                          SALES TAX              N/A

                                                                              SHIPPING & HANDLING                N/A

                                                                                         TOTAL DUE             $0.00


Work guaranteed for one year from month of service. Make all checks payable to Santa Clarita Home Repair
If you have any questions concerning this invoice, contact Accounts Receivable, ap.ericgreer03@gmail.com or contact
Eric Greer directly at (661) 373-5236.



                                         THANK YOU FOR YOUR BUSINESS!
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 106 of 142 Page ID #:106




   July 3, 2019                                                           Project No. 19011


   Ms. Tina Williams
   21444 Peggy Joyce Ln
   Santa Clarita, CA

   Subject:        Proposed to Provide Subsurface Investigation and Geotechnical
                   Report, Proposed Retaining Wall
                   21444 Peggy Joyce Ln, Santa Clarita, CA

   Dear Ms. Williams:

   NTS Geotechnical, Inc. (NTS) is pleased to submit this proposal to perform a subsurface
   investigation and prepare a geotechnical report for the proposed retaining wall reconstruction
   located at 21444 Peggy Joyce Ln, in the City of Santa Clarita, California. Our understanding of
   the project is based on our correspondence you on July 3, 2019.

   We understand that the existing retaining wall separating your property and the back lot has
   failed and will be reconstructed.

   Based on our understanding of the proposed project, we have developed the following scope of
   services:

      •     Task 1 – Review Background Information
      •     Task 2 – Coordinate and Perform Field Exploration
      •     Task 3 – Perform Geotechnical Laboratory Testing
      •     Task 4 – Conduct Engineering Analyses
      •     Task 5 – Prepare Preliminary Geotechnical Report
      •     Task 6 – Response to Review Comments

   The following sections provide a description of each of the above tasks and our approach to
   complete each task.

   Task 1 – Review Background Information

   We will review available geotechnical investigation reports for the site vicinity and any other
   geotechnical reports prepared adjacent structures, if available. We will also review available
   published and unpublished geologic literature contained in our files, including publications
   prepared by the California Geological Survey (CGS) and the United States Geological Survey
   (USGS). This information will help us focus our field investigative efforts and review the general
   geologic information in the vicinity of the site.

   Task 2: Perform Field Exploration

   Before starting our exploration program, we will conduct a field reconnaissance to observe the
   site conditions and to mark the locations of our planned subsurface explorations. As required by
   law, we will notify Underground Service Alert (USA) of the proposed subsurface exploration
          NTS GEOTECHNICAL       15333 CULVER DR SUITE 340, IRVINE, CA 92604        WWW.NTSGEO.COM
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 107 of 142 Page ID #:107




   locations at least 48 hours prior to performing our excavations so that conflicts between the
   proposed locations and underground utilities can be identified. We have assumed that access to
   the property will be provided and that the client will provide site-specific, as-built utility plans, if
   available.

   We propose to explore the site by advancing a total of 2 hand auger borings in the planter area
   to depths ranging between 10 and 15 feet below the existing grade.

   The proposed borings will be manually excavated with hand tools. We will coordinate with you
   upon marking our proposed borings to determine best access to the site. We anticipate that the
   borings can be completed in one work day.

   The borings will be observed by our engineer or geologist, who will log the subsurface
   conditions encountered and will obtain driven and bulk samples for laboratory observation and
   testing. It is assumed that no higher than Level D for personal protection equipment will be
   required (i.e., hard hat, steel-toe boots, eye and hearing protection).

   Drive samples and grab samples will be collected. Immediately upon completion of excavation
   and sampling, the borings will be backfilled with soil derived from excavations. Any remaining
   soils will be spread out in existing dirt-covered areas. It is important to note that drumming and
   disposal of excavated soil cuttings is beyond our scope of services as presented in this
   proposal. If requested, the cuttings can be transported off site and NTS will provide you with an
   adjusted field exploration cost estimate to include drumming, disposal of the cuttings, and
   backfilling the boreholes with bentonite chips or grout.

   We will conduct the drilling and sampling in general accordance with applicable American
   Society of Testing and Materials (ASTM) standards. At the completion of the drilling, we will
   transport the samples to the laboratory where they will be handled as described in Task 3.

   Task 3: Perform Geotechnical Laboratory Testing

   Samples obtained from the exploratory borings will be transported to a laboratory for visual
   classification and testing. Laboratory tests will be performed by on selected samples obtained
   from the borings to aid in the classification and to evaluate the engineering properties of the
   foundation soils. The laboratory tests will include the following:

      •   In-situ moisture and density testing;
      •   Soil classification testing including grain-size distribution; and
      •   Corrosivity: pH, Resistivity, Soluble Sulfate, and Chloride Tests.

   The exact quantities and types of tests will depend on the material types encountered during our
   subsurface exploration. For the purposes of this proposal, we have estimated a laboratory
   testing budget based upon our experience with similar projects.

   Task 4: Conduct Engineering Analysis

   The results of our field exploration and geotechnical laboratory tests will be evaluated and
   engineering analyses will be performed in order to provide geotechnical recommendations for
   the design and construction of the proposed project. We propose to perform the following
   analyses to meet these objectives:



                                             NTS Proposal 19011                             Page 2 of 5
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 108 of 142 Page ID #:108




      •   Evaluation of general subsurface conditions and description of types, distribution, and
          engineering characteristics of subsurface materials at the site;
      •   Evaluation of site geology and geologic hazards in conformance with 2016 California
      •   Building Code (CBC) Section 1803.6, including site seismicity, liquefaction and seismic
          settlement potential, and preliminary recommendations for appropriate mitigation
          measures, if necessary;
      •   Evaluation of current and historical groundwater conditions at the site and potential
          impact on design and construction;
      •   Evaluation of the seismic design parameters in accordance with 2016 CBC for use in
          structural design and site specific seismic response spectra, if required;
      •   Evaluation of the feasibility of using on-site soils for foundation and fill support;
      •   Evaluation of the corrosion potential of near surface on-site soils; and
      •   Recommendations for foundation systems (we have assumed shallow foundations but
          we will evaluate the most appropriate system, i.e., possibly intermediate or deep
          foundations depending upon the soil conditions and geology encountered during our
          excavations), and provision of allowable bearing capacities, associated settlement
          estimates, and lateral pressures and resistances.

   Task 5: Prepare Preliminary Geotechnical Report

   A preliminary report will be prepared to summarize the data collected and present our findings,
   conclusions, and geotechnical recommendations for design and construction of the proposed
   project. The report will include the following:

      •   Site location map;
      •   Project information;
      •   Boring location map and logs of test pits that include summarized laboratory testing
          results;
      •   Soil classification of the soil materials encountered in accordance with the Unified
      •   Soil Classification System (USCS);
      •   Seismic design parameters;
      •   Review/summary of field and laboratory test procedures and data;
      •   Geotechnical recommendations (in accordance with Task 4 of this proposal).

   Task 6: Response to Review Comments

   The City of Santa Clarita will review the Geotechnical Report. The magnitude of review
   comments is difficult to predict since it is dependent on the reviewer, details of the final design,
   and complexities related to the project. NTS can prepare a separate proposal for response to
   comments once the review comments are received.

   We will provide an electronic PDF copy of report signed by a California Registered Civil
   Engineer.




                                            NTS Proposal 19011                           Page 3 of 5
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 109 of 142 Page ID #:109




   ESTIMATED FEE

   We propose to provide the scope of services described in accordance with the work plan
   provided in this proposal a lump sum fee of $5,000.

   Our estimated fee for the proposed scope of services is based on our 2019 Fee Schedule. Any
   authorized services beyond the proposed scope will also be based on this fee schedule. This
   proposal and fee estimate are valid for a period of 90 days.

   Our estimated fees are based on the assumption that the borings are performed during regular
   business hours. Environmental profiling, removal, and disposal of soil cuttings are beyond the
   scope of services presented in this proposal. Services beyond the scope of this proposal may
   be provided on time-and-material basis in accordance with the attached fee schedule.

   LIMITATIONS

   Please notify us immediately if the proposed scope of services does not meet your current
   needs, or if any significant changes are made to the proposed development so that we can
   revise our scope of services accordingly. Revision of the scope of services may affect the
   estimated fee.

   The estimated fee in this proposal is not sufficient to cover costs related to the repair of
   damaged underground utilities. NTS will not be responsible for the repair or costs of repairs on
   any damaged underground utilities, unless it is due to the sole negligence of NTS.

   Our field exploration does not include sampling, testing or assessment of toxic or hazardous
   substances, if such are encountered, or evaluation of other environmental issues.

   CLOSURE

   Please do not hesitate to call if there are any questions or if you would like to discuss any
   aspect of this proposal. If you find our scope and budget estimate acceptable, please execute
   this proposal by signing the next page, and return a signed copy to us. In addition, to authorize
   this firm to proceed, please also return a retainer of $2,500 with the signed proposal. The final
   $2,500 is due before submittal of the report. Acceptance and signing of this proposal indicates
   an acceptance of the attached terms and conditions.

   Respectfully submitted,

   NTS GEOTECHNICAL, INC.



   Nadim T. Sunna, M.Sc., QSP, PE
   Principal Engineer

   (Submitted via e-mail)

   Attachments: 2019 Fee Schedule




                                          NTS Proposal 19011                          Page 4 of 5
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 110 of 142 Page ID #:110




                Terms and Conditions


   This agreement, between NTS Geotechnical, Inc. and Tina Williams (CLIENT) is entered into,
   this date of July 3, 2019 and whereby the CLIENT desires to engaged NTS Geotechnical, Inc. to
   perform professional services at the project stated above.

   By signing in the space provided below, the CLIENT hereby accepts the attached terms and
   conditions. Please email a signed copy back to info@ntsgeo.com. Our receipt of a signed
   acceptance will constitute your authorization for NTS Geotechnical, Inc. to proceed with the
   scope of services described above.

   Please be advised that NTS Geotechnical, Inc. employs professionals licensed by the California
   Board for Professional Engineers, Land Surveyors, and Geologists.

   Signature of Client or Authorized Agent:


   ________________________________________                    Date: _____ / _____ / _____




                                          NTS Proposal 19011                        Page 5 of 5
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 111 of 142 Page ID #:111




                                      2019 FEE SCHEDULE
    PROFESSIONAL SERVICES
       Staff Engineer/Geologist                                    $110.00/hour
       Project Engineer/Geologist                                  $145.00/hour
       Senior Engineer/Geologist                                   $175.00/hour
       Principal Engineer/Geologist                                $195.00/hour


    GEOTECHNICAL LABORATORY TESTING SERVICES
       Laboratory Technician                                       $115.00/hour
   Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 112 of 142 Page ID #:112




                                            TERMS AND CONDITIONS
                                                   JUNE 2019

1. Scope of Work                                             Engineer nor any of Engineer’s subconsultants
Engineer (“NTS Geotechnical, Inc.”) shall perform            owe any fiduciary responsibility to Client.
the services outlined in the attached Scope of
Work, which may only be amended by Client and             4. Engineer’s Estimate of Construction Costs
Engineer in writing. If Engineer provides Client with        Client acknowledges that construction and
a writing confirming the change in scope, it shall           development are subject to many influences
become an amendment to this Agreement unless                 that are not subject to precise forecasting and
Client objects in writing within five (5) working days       are outside of Engineer’s control. Client further
after receipt. All work performed by Engineer at the         acknowledges that actual costs incurred may
Project is subject to the terms and limitations of this      vary substantially from the estimates prepared
Agreement.                                                   by Engineer and that Engineer does not warrant
                                                             or guarantee the accuracy of construction or
2. Payments to Engineer                                      development cost estimates.
   2.1 Lump Sum
      This proposal and/or portions of this               5. Construction Phase Services
      proposal may be on a lump sum basis. All               If the scope of Engineer’s work includes
      lump sum costs are due in full prior to the            observation and testing during the course of
      initiation of work.                                    construction, Engineer shall:
   2.2 Time and Materials
       All out-of-scope work performed under this            5.1 Make visits to the site at intervals
       Agreement shall be on a time and materials                appropriate to the various stages of
        basis unless otherwise specifically agreed               construction as Client may request, in order
                to in writing by both parties.                   to observe the geotechnical conditions
   2.3 Late Payment Charge                                       encountered by Contractor(s) and the
      All invoices are due on receipt. If Client fails           progress and quality of the geotechnical
      to make any payment due Engineer for                       aspects of Contractor(s)’ work. Based on
      services and expenses within fifteen (15)                  information obtained during such visits and
      days after receipt of Engineer’s invoices, the             on such observations, Engineer shall
      amounts due Engineer shall, thereafter,                    inform Client of the progress of the
      include a late payment charge at the rate of               geotechnical aspects of the work. Client
      1½% per month, or the highest rate                         understands that Engineer may not be on
      permitted by law, from the thirtieth day.                  site continuously nor shall Engineer
                                                                 observe all of Contractor’s Work.
3. Standard of Performance; Disclaimer of                    5.2 Engineer shall perform such services as
   Warranties                                                    are stated in the Scope of Work. Such
   Engineer shall perform its Services consistent                services shall be performed in accordance
   with that level of care and skill ordinarily                  with current engineering standards. Client
   exercised by other professional engineers                     understands that services performed by
   under similar circumstances at the time the                   Engineer on finished work, or work in
   Services are performed. No warranty, express                  progress, are taken intermittently and
   or implied, is included or intended by this                   indicate, on a statistical basis, the general
   Agreement.    Client recognizes that neither                  acceptability of the work.        Testing or

             TERMS AND CONDITIONS
             JUNE 2019
             Page 1 of 5
   Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 113 of 142 Page ID #:113
       observation by Engineer of portions of the            tanks, cables, and utilities within the
       work of other parties on a project are not a          property lines of the Project Site(s) and
       guarantee of the quality of Contractor’s              shall be responsible for any damage
       work and shall not relieve such other                 inadvertently caused by Engineer to any
       parties from their responsibility for                 such structure or utility not so designated.
       performing their work in accordance with              Client warrants the accuracy of any
       applicable plans, specifications, and safety          information supplied by it to Engineer, and
       requirements.                                         acknowledges that Engineer is entitled to
   5.3 Engineer shall not supervise, direct, or              rely upon such information without verifying
       have control over Contractor(s)’ work nor             its accuracy.
       shall Engineer have authority over or             6.5 Supply to Engineer all information and
       responsibility for the means, methods,                documents in its possession or knowledge
       techniques, sequences, or procedures of               which are relevant to the Services herein
       construction selected by Contractor(s) for            described. Prior to the commencement of
       the Project, for safety precautions and               any Services in connection with a specific
       programs incident to Contractor(s)’ work or           property, Client shall notify Engineer of any
       for any failure of Contractor(s) to comply            known potential or possible health or safety
       with Laws and Regulations applicable to               hazards existing on or near the Project
       Contractor(s) furnishing and performing its           Site, with particular reference to Hazardous
       work.                                                 Materials or conditions.

6. Client’s Responsibilities                          7. Changed Conditions
    In addition to payment for the Services              If, during the course of performance of this
performed under this Agreement, Client agrees to:        Agreement, conditions or circumstances are
                                                         discovered which were not contemplated by
   6.1 Assist and cooperate with Engineer in any         Engineer at the commencement of this
       manner necessary and within its ability to        Agreement, Engineer shall notify client in
       facilitate Engineer’s performance under this      writing of the newly discovered conditions or
       Agreement.                                        circumstances, and Client and Engineer shall
   6.2 Designate a representative who will have          renegotiate, in good faith, the terms and
       authority to receive all notices and              conditions of this Agreement. If amended terms
       information pertaining to this Agreement          and conditions cannot be agreed upon within
       and who will enunciate Client’s policies and      thirty (30) days after notice, Engineer may
       decisions and assist as necessary in              terminate this agreement and be compensated
       matters pertaining to the Project and this        as set forth in Section 17, “Termination”.
       Agreement. Client’s representative will be
       subject to change by written notice.           8. Hazardous Materials
   6.3 Provide access to and/or obtain permission        Client understands that Engineer’s services
       for Engineer to enter upon all property,          under this Agreement are limited to
       whether or not owned by Client, as                geotechnical engineering and that Engineer
       required to perform and complete the              shall have no responsibility to locate, identify,
       Services. Client recognizes that the use of       evaluate, treat, or otherwise consider or deal
       investigative equipment and practice may          with hazardous materials. Client shall be solely
       unavoidably alter conditions or affect the        responsible for notifying all appropriate federal,
       environment at the existing Project Site(s).      state, municipal, or other governmental
       Engineer will operate with reasonable care        agencies, including the potentially affected
       to minimize damage to the Project Site(s).        public, of the existence of any hazardous
       The cost of repairing such damage will be         materials located on or in the project site, or
       borne by Client, and is not included in the       located during the performance of this
       Fee unless otherwise stated.                      Agreement. The existence or discovery of
   6.4 Correctly designate on plans to be                hazardous materials shall constitute a Changed
       furnished to Engineer, the location of all        Condition under this Agreement.
       subsurface structures, such as pipes,

TERMS AND CONDITIONS
JUNE 2019
Page 2 of 5
   Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 114 of 142 Page ID #:114
                                                                         attorneys’ fees or other loss (“Loss”),
                                                                         which arises from, or which is
9. Certifications
                                                                         related to, the existence, disposal,
   Engineer shall not be required to execute any
                                                                         release, discharge, treatment, or
   certification with regard to work performed,
                                                                         transportation      of      hazardous
   tested, or observed under this Agreement
                                                                         materials, or the exposure of any
   unless: 1) Engineer believes that sufficient work
                                                                         person to hazardous materials, or
   has been performed by Engineer to provide a
                                                                         the degradation of the environment
   sufficient basis to issue the certification, 2)
                                                                         due to the presence, discharge,
   Engineer believes that the work performed,
                                                                         disposal, release of, or exposure to,
   tested, or observed meets the criteria of the
                                                                         hazardous material.
   certification, and 3) the exact form of such
                                                                  10.2.2 Indemnification Provisions
   certification has been approved by Engineer, in
                                                                         If any indemnification provisions are
   writing, prior to execution of this Agreement.
                                                                         imposed upon the Engineer, such
   Any certification by Engineer is limited to an
                                                                         provisions shall not create, exceed,
   expression of professional opinion based upon
                                                                         exert, or establish any greater rights,
   the service performed by Engineer, and does
                                                                         obligations, or responsibilities than
   not constitute a warranty or guarantee, either
                                                                         those presently existing under the
   expressed or implied.
                                                                         laws of negligence of the State of
                                                                         California, and the applicability of
10. Allocation of Risk
                                                                         such provisions shall be limited to
    10.1Limitation of Liability
                                                                         the insurance limits recoverable for
        The total cumulative liability of Engineer, its
                                                                         such damages and losses.
        shareholders,          directors,      officers,
        employees, and agent, to Client arising
                                                            10.2.3 Third Party Indemnification
        from Services performed or to be
                                                                  Client agrees to indemnify and hold
        performed by Engineer for this Project
                                                                  Engineer harmless for the Client’s own
        whether in contract, indemnity, contribution,
                                                                  negligence or for the negligence of anyone
        tort, or otherwise and including attorney’s
                                                                  for whom the Client is legally liable.
        fees due under this Agreement, shall not
                                                                  Additionally, and in light of the fact that
        exceed 100% of gross compensation
                                                                  Engineer’s scope of services under this
        received by Engineer under this Agreement
                                                                  proposal does not include inspection,
        provided, however, that such liability shall
                                                                  analysis, or investigation of any kind into
        be further limited in the following respects:
                                                                  the design or construction of existing
                                                                  conditions at the Project, the Client agrees
            Engineer shall not be liable to Client
                                                                  to defend, indemnify, and hold Engineer
            for any losses, damages, or claims
                                                                  harmless from and against any and all
            arising     from     damage         to
                                                                  claims, damages, liabilities and costs,
            subterranean structures or utilities
                                                                  including all attorney’s fees and costs of
            which are not correctly shown on
                                                                  defense, arising out of or in any way
            plans furnished by Client to
                                                                  related to existing conditions at the project.
            Engineer during the performance of
            authorized Services or which are
                                                              10.3Continuing Agreement
            not called to Engineer’s attention by
                                                                  Client and Engineer agree that any and all
            Client.
                                                                  protections, limitations of liability, and
                                                                  indemnification agreements noted herein
   10.2Indemnification
                                                                  shall extend to the officers, partners, and
       10.2.1 Hazardous Materials
                                                                  employees of Client and Engineer,
              Client agrees to indemnify and hold
                                                                  respectively.
              harmless the Engineer Entities from
              and against any and all claims, suits,
                                                           11. Ownership and Maintenance of Documents
              liability, damages, injunctive or
                                                               Client-provided documents will remain the
              equitable relief, expenses, including
                                                               property of Client. Unless otherwise specified

TERMS AND CONDITIONS
JUNE 2019
Page 3 of 5
   Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 115 of 142 Page ID #:115
   in the Scope of Work, all documents and                  Nothing contained in this Agreement shall
   information obtained or prepared by Engineer in          create a contractual relationship with or a cause
   connection with the performance of the                   of action in favor of a third party against either
   Services, including but not limited to Engineer’s        the Client or the Engineer. Engineer’s services
   reports, boring logs, maps, field data, field            under this Agreement are being performed
   notes, drawings and specifications, laboratory           solely for the Client’s benefit, and no other
   test data, and other similar documents                   entity shall have any claim against the Engineer
   (collectively called “Documents”) are the                because of this Agreement or the performance
   property of Engineer and Engineer shall, in its          or nonperformance of services hereunder. The
   sole discretion, have the right to dispose of or         Client agrees to include a provision in all
   retain the Documents. Reuse of Engineer’s                contracts with contractors and other entities
   documents for any purpose other than for this            involved in this project to carry out the intent of
   Project requires express written authorization           this paragraph, and further agrees to defend,
   from Engineer.      Client agrees to defend,             indemnify, and hold Engineer harmless for any
   indemnify, and hold Engineer harmless from               claims, suits, liability, damages, injunctive or
   any unauthorized use of Engineer’s documents.            equitable relief, expenses, including attorney’s
                                                            fees or other loss (“Loss”) asserted by any third
12. Relationship of the Parties                             party against Engineer.
    Engineer shall perform Services under this
    Agreement as an independent contractor, and          14. Assignment and Subcontracts
    its employees shall at all times be under its sole       Neither party shall assign this Agreement, or
    discretion and control. Engineer shall select the        any part thereof, without the written consent of
    means, manner, and method of completing                  the other party, except an assignment of
    Services without detail, control, or direction           proceeds for financing purposes. Engineer may
    from Client.                                             subcontract for the services of others without
                                                             obtaining Client’s consent where Engineer
13. Third Party Reliance Upon Reports                        deems it necessary or desirable to have others
    All Documents are prepared solely for use by             perform certain Services.
    Client and shall not be provided to any other
    person or entity without Engineer’s written          15. Suspension and Delays
    consent, nor shall they be mentioned,                    Client may, at any time, by ten (10) days written
    communicated, disclosed, or referred to in any           notice, suspend performance of all or any part
    offering circular, securities offering, loan             of the Services by Engineer, Engineer may
    application, real estate sales documentation, or         terminate this Agreement if Client suspends
    similar promotional material, without the                Engineer’s work for more than sixty (60) days
    express written authorization of Engineer.               and be paid as set forth under Section 17
    Client shall defend, indemnify, and hold                 “Termination”.
    harmless Engineer, its officers, shareholders,
    and employees from and against any action or         16. Termination
    proceeding brought by any person or entity               17.1Termination for Convenience
    claiming to rely upon information or opinions                Engineer and Client may terminate this
    contained in reports or other documents                      Agreement for convenience upon thirty (30)
    provided to such person or entity, published,                days written notice delivered or mailed to
    disclosed, or referred to without Engineer’s                 the other party.
    written consent.                                         17.2Termination for Cause
                                                                 In the event of material breach of this
   No other party other than Client may rely, and                Agreement, the party not breaching the
   Client shall make no representations to any                   Agreement may terminate if upon ten (10)
   party that such party may rely, on Documents                  days written notice delivered or mailed to
   without      Engineer’s    express      written               the other party, which termination notice
   authorization.                                                shall state the basis for the termination.
                                                                 The Agreement shall not be terminated for


TERMS AND CONDITIONS
JUNE 2019
Page 4 of 5
   Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 116 of 142 Page ID #:116
       cause if the breaching party cures the                 limitation, disputes arising out of or relating to
       breach within the ten day period.                      this Agreement, the professional relationship
   17.3Payment on Termination                                 between the parties, and the professional
       In the event of termination, other than                services rendered by NTS to Client shall be
       caused by a material breach of this                    decided by Arbitration under the rules of the
       Agreement by Engineer, Client shall pay                American Arbitration Association. Client further
       Engineer for the Services performed                    agrees that in the event of any dispute between
       through the termination notice date, and for           NTS and Client, any action or proceeding shall
       any necessary Services and expenses                    be brought in Orange County, California and
       incurred in connection with the termination            that California law shall apply. Client also
       of the project, including but not limited to,          agrees to submit to jurisdiction in California. In
       the costs of completing analysis, records,             the event enforcement proceedings and/or legal
       and reports necessary to document job                  action arises relating to this Agreement, the
       status at the time of termination and costs            interpretation thereof, or the failure of any Party
       associated       with      termination     of          to perform the terms of Agreement, the
       subcontractor        contracts.         Such           prevailing party in such action shall be, in
       compensation shall be based upon the                   addition to damages, injunctive relief or any
       schedule of fees then currently used by                other relief, entitled to reasonable costs and
       Engineer.                                              expenses not limited to actual attorneys’ fees
   17.4Claims Waiver                                          and expert witness costs incurred in such an
       Client and Engineer hereby waive all                   action.
       claims against each other for consequential
       damages (including, but not limited to, loss        19. Integration and Severability
       of use or lost profits).                                This Agreement reflects the entire agreement of
                                                               the parties with respect to its terms and
                                                               supersedes all prior agreements, whether
17. Disputes
                                                               written or oral. If any portion of this Agreement
    All disputes between Engineer and Client shall
                                                               is found to be void or voidable, such portion
    be subject to non-binding mediation. Either
                                                               shall be deemed stricken and the Agreement
    party may demand mediation by serving a
                                                               shall be reformed to as closely approximate the
    written notice stating the essential nature of the
                                                               stricken portions as the law allows.
    dispute, the amount of time or money claimed,
    and requiring that the matter be mediated within
    forty-five (45) days of service of notice. The
                                                                   - - - - - - - - - - - - - - - - - - - - - -
    mediation shall be administered by the
    American Arbitration Association in accordance
                                                                     End of Terms and Conditions
    with their most recent construction Mediation
    Rules, or by such other person or organization
    as the parties may agree upon.

   No action or suit may be commenced unless
   the mediation did not occur within forty-five (45)
   days after service of notice, the mediation
   occurred but did not resolve the dispute, or a
   statute of limitation would elapse if suit was not
   filed prior to the forty-five (45) days after service
   of notice.

18. Attorney Fees / Venue / Arbitration
    Client and NTS agree that the laws of the State
    of California govern the construction and
    interpretation of this Agreement and any
    dispute between the parties, including without

TERMS AND CONDITIONS
JUNE 2019
Page 5 of 5
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 117 of 142 Page ID #:117
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 118 of 142 Page ID #:118
ase 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 119 of 142 Page ID #:1
ase 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 120 of 142 Page ID #:1
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 121 of 142 Page ID #:121




                          EXHIBIT J
  Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 122 of 142 Page ID #:122

                                                                                               Katherine T. Botros
                                                                                                  Admitted in CA
                                                                                          kbotros@rlattorneys.com

                                                                         REPLY TO: ORANGE COUNTY OFFICE
                                                                                 9891 Irvine Center Dr., Suite 200
                                                                                                Irvine, CA 92618


                                                  May 18, 2021
         VIA EMAIL ONLY
         Mr. Arash Merpour
         Merpour Law, Inc.
         2006 E. Foothill Blvd.
         Pasadena, CA 91107
         arash@merpourlaw.com

         Re:             Claim No.           :      LC5268E0C7
                         Insured             :      Williams, Tina
                         Insured Location    :      21444 Peggy Joyce Ln.
                                                    Santa Clarita, CA 91350

         Dear Mr. Merpour:

                In response to your recent correspondences for further information re payments
         issued by Lemonade Insurance Company (“Lemonade”). We reiterate again that the
         entirety of the Lemonade claims file in our possession relating to Ms. Williams’ loss has
         been forwarded to you.      This includes 522 pages of documents, detailing reports,
         photographs, and communications. From our review of the claims file, it appears that the
         total amount paid amounts to $38,858.38, subject to further investigation, as follows:

                  $12,361.15    Payment under Other Structures –        Kindly reference bates
                                 consisting of $1500 for clean up;       LEMONADE000009,
                                 $6300 pool equipment estimates,         000047-00049, 0000076-
                                 and $5,561.15 estimate repairs for      000087
                                 50% of block walls

                  $797.00       Payments for Contents feature loss      Reference bates
                                                                         LEMONADE0000076-
                                                                         000087

                  $12,638.85    Oth Structures                          Reference bates
                                                                         LEMONADE0000076-
                                                                         000087

                  11,500.00     Oth Structures for Mortgage             Reference bates
                                                                         LEMONADE000076-000087



ALBUQUERQUE | BAKERSFIELD | CHARLESTON | DALLAS | DENVER | LAS VEGAS | MIAMI | ORANGE COUNTY | ORLANDO |
            PHOENIX | RIVERSIDE | SACRAMENTO | SALT LAKE CITY | SAN DIEGO | TAMPA | LONDON, UK
                                           www.rlattorneys.com
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 123 of 142 Page ID #:123

      Mr. Arash Merpour
      Merpour Law, Inc.
      Re: Claim No. LC5268E0C7
      May 18, 2021
      Page: 2
      ______________________________________________________________________________

            $697.88         Oth Structures – payment to Ryze        Reference bates
                             Claims for investigation                LEMONADE000010-000051

            $617.00         Oth Structures – payments to G45S       Reference bates LEMONADE
                             Compliance for investigation.           000055-000064

            $246.00         Oth Structures – payments to G45S       Reference bates
                             Compliance                              LEMONADE000055-000064


            Attached for your reference are the documents referenced above. Note that while
      the Ryze and G45S reports were previously withheld pursuant to work product privileges
      and communication privileges, we are providing you a redaction version of the reports.

             Based on the Proof of Loss provided, please advise if you are demanding appraisal
      of the claim pursuant to the policy. Lemonade continues its position to resolve any
      disputes informally and in good faith. However, Lemonade continues to reserve all rights
      and defenses regarding this claim, including the right to deny or dispute coverage. No
      waiver or estoppel is intended, and none should be inferred.


             Please feel free to contact the undersigned should you wish to discuss further.

                                         Very Truly Yours,

                                         /s/ Katherine T. Botros
                                         Katherine T. Botros
                                         FOR THE FIRM
      KTB/

      Encl. as noted
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 124 of 142 Page ID #:124




                         EXHIBIT K
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 125 of 142 Page ID #:125




                                                               LEMONADE00076
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 126 of 142 Page ID #:126




                                                               LEMONADE00077
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 127 of 142 Page ID #:127




                                                               LEMONADE00078
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 128 of 142 Page ID #:128




                                                               LEMONADE00079
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 129 of 142 Page ID #:129




                                                               LEMONADE00080
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 130 of 142 Page ID #:130




                                                               LEMONADE00081
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 131 of 142 Page ID #:131




                                                               LEMONADE00082
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 132 of 142 Page ID #:132




                                                               LEMONADE00083
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 133 of 142 Page ID #:133




                                                               LEMONADE00084
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 134 of 142 Page ID #:134




                                                               LEMONADE00085
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 135 of 142 Page ID #:135




                                                               LEMONADE00086
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 136 of 142 Page ID #:136




                                                               LEMONADE00087
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 137 of 142 Page ID #:137




                          EXHIBIT L
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 138 of 142 Page ID #:138

                                           Merpour Law, Inc.

   Arash Merpour, Esq.                  2006 East Foothill Blvd
                                         Pasadena, CA 91107
                                           (805) 222 - 6738
   June 10, 2021

   EMAIL ONLY

   Katherine T. Botros
   Resnick & Louis, P.C.
   Kbottros@rlattorneys.com

   Re:    Williams, Tina – LC5268E0C7 – Denial of proof of loss

   Dear Ms. Botros,
           I received your denial letter of the proof of loss on May 18, 2021. It’s interesting that
   you now decided to release more of the case file with the letter. These documents should have
   been provided when we first requested the case file. You are not even providing me with the
   recording of the interview referenced in your documents. I keep on referencing everything that
   is missing with this case file, yet you insist that it is complete.

   Regards,


   Arash Merpour, Esq.
   Merpour Law, Inc.
   805.222.6738
   arash@merpourlaw.com
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 139 of 142 Page ID #:139




                                              Exhibit 2
Electronically FILED by Superior Court of California, County of Los Angeles on 11/03/2021 10:36 AM Sherri R. Carter, Executive Officer/Clerk of Court, by S. Reyna,Deputy Clerk
                Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 140 of 142 Page ID #:140

              ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State, Bar number, and address):                                                           FOR COURT USE ONLY
              Merpour Law, Inc.
              2006 East Foothill Boulevard
              Pasadena, CA 91107
                         TELEPHONE NO.: 805-259-6808                     FAX NO. (Optional):
              E-MAIL ADDRESS (Optional):
                  ATTORNEY FOR (Name): TINA WILLIAMS

             SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
                      STREET ADDRESS:            9425 Penfield Avenue, Room 1200
                      MAILING ADDRESS:           9425 Penfield Avenue, Room 1200
                     CITY AND ZIP CODE:          Chatsworth 91311
                          BRANCH NAME:           North Valley District, Chatsworth Courthouse

                  PLAINTIFF/PETITIONER: TINA WILLIAMS                                                                          CASE NUMBER:


           DEFENDANT/RESPONDENT: LEMONADE INSURANCE AGENCY LLC                                                                                    21CHCV00454
                                                                                                                               Ref. No. or File No.:
                                                 PROOF OF SERVICE OF SUMMONS                                                                       REF-8976146

          1. At the time of service I was at least 18 years of age and not a party to this action.




                                                                                                                                                                                       BY FAX
          2. I served copies of (specify documents):
             SUMMONS; COMPLAINT; NOTICE OF CASE ASSIGNMENT; CMC

          3. a. Party served (specify name of party as shown on documents served):
                       Lemonade Insurance Agency, LLC

               b.      X         Person (other than the party in item 3a) served on behalf of an entity or as an authorized agent (and not a person under
                                 item 5b whom substituted service was made) (specify name and relationship to the party named in item 3a ):
                                 John Halissy, Registered Agent

          4. Address where the party was served:
                       608 University Avenue, Sacramento, CA 95825

          5. I served the party (check proper box)
             a. X       by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to receive
                        service of process for the party (1) on (date): 11/02/2021 at (time): 4:10 PM

               b.                by substituted service. On (date):                     at (time):                  I left the documents listed in item 2 with
                                 or in the presence of (name and title or relationship to person indicated in item 3):

                                 (1)               (business) a person at least 18 years of age apparently in charge at the office or usual place of business of
                                                   the person to be served. I informed him or her of the general nature of the papers.

                                 (2)               (home) a competent member of the household (at least 18 years of age) at the dwelling house or usual place
                                                   of abode of the party. I informed him or her of the general nature of the papers.

                                 (3)               (physical address unknown) a person at least 18 years of age apparently in charge at the usual mailing
                                                   address of the person to be served, other than a United States Postal Service post office box. I informed him
                                                   or her of the general nature of the papers.

                                 (4)               I thereafter caused to be mailed (by first class, postage prepaid) copies of the documents to the person to be
                                                   served at the place where the copies were left (Code Civ. Proc § 415.20). Documents were mailed
                                                   on (date):             from (city):                          or      a declaration of mailing is attached.

                                 (5)               I attach a declaration of diligence stating actions taken first to attempt personal service.




                                                                                                                                                                                Page 1 of 2
           Form Adopted for Mandatory Use                                                                                                                  Code of Civil Procedure. § 417.10
           Judicial Council of California POS-
           010 [Rev. January 1, 2007]                                      PROOF OF SERVICE OF SUMMONS                                                   Tracking #: 0078702724

                         REF: REF-8976146
     Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 141 of 142 Page ID #:141

      PLAINTIFF/PETITIONER: TINA WILLIAMS                                                                CASE NUMBER:

DEFENDANT/RESPONDENT: LEMONADE INSURANCE AGENCY LLC                                                                     21CHCV00454

     c.              by mail and acknowledgement of receipt of service. I mailed the documents listed in item 2 to the party, to the
                     address shown in item 4, by first-class mail, postage prepaid,

                     (1) on (date):                                              (2) from (city):
                     (3)               with two copies of the Notice and Acknowledgement of Receipt and a postage-paid return envelope
                                       addressed to me. (Attach completed Notice and Acknowledgement of Receipt.) (Code Civ. Proc., § 415.30)
                     (4)               to an address outside California with return receipt requested. (Code Civ. Proc., § 415.40)

     d.              by other means (specify means of service and authorizing code section):

                     Additional page describing service is attached.

6. The “Notice to the Person Served” (on the summons) was completed as follows:
     a.              as an individual defendant.

     b.              as the person sued under the fictitious name of (specify):

     c.              as occupant.

     d.    X         On behalf of (specify) Lemonade Insurance Agency, LLC c/o John Halissy, Registered Agent
                     under the following Code of Civil Procedure section:
                                   X      416.10 (corporation)                                      415.95 (business organization, form unknown)
                                          416.20 (defunct corporation)                              416.60 (minor)
                                          416.30 (joint stock company/association)                  416.70 (ward or conservatee)
                                          416.40 (association or partnership)                       416.90 (authorized person)
                                          416.50 (public entity)                                    415.46 (occupant)
                                                                                                    other:
7. Person who served papers
     a.   Name:                              Sean Mason
     b.   Address:                           P.O. Box 1642, Carmichael, CA 95609
     c.   Telephone number:                  619-884-2893
     d.   The fee for service was:           $ 75.00
     e.   I am:

          (1)              not a registered California process server.




                                                                                                                                                     BY FAX
          (2)              exempt from registration under Business and Professions Code section 22350(b).
          (3)   X          registered California process server:
                           (i)           owner           employee        X   independent contractor.    For:              ABC Legal Services, LLC
                           (ii)    X     Registration No.: 2018-10                                      Registration #: 6779
                           (iii)   X     County:            Sacramento                                  County:           Los Angeles

8.    X         I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.
                or
9.              I am a California sheriff or marshal and I certify that the foregoing is true and correct.

Date: ______________
      11/02/2021


                                   Sean Mason
          (NAME OF PERSON WHO SERVED PAPERS/SHERIFF OR MARSHAL)                                                   (SIGNATURE)



POS-010 [Rev. January 1, 2007]                                                                                                                 Page 2 of 2

                                                           PROOF OF SERVICE OF SUMMONS                                          Tracking #: 0078702724
            REF: REF-8976146
Case 2:21-cv-09003-DSF-JPR Document 1 Filed 11/17/21 Page 142 of 142 Page ID #:142




    1                                     PROOF OF SERVICE
    2           I, William Reeves, declare that:
    3           I am over the age of eighteen years and not a party to the within cause.
    4           On the date specified below, I served the following document:
    5           NOTICE OF REMOVAL
    6           Service was effectuated in the following manner:
    7                 BY FACSIMILE:
    8   XXXX          BY ELECTRONIC MAIL given the COVID-19 protocols.
    9   XXXX          BY MAIL: By placing a true copy thereof enclosed in a sealed envelope
   10   addressed
   11   Arash Merpour
        Merpour Law
   12   2006 E. Foothill Blvd.
        Pasadena, CA 91107
   13
   14           I am readily familiar with the firm’s practice of collecting and processing
   15   correspondence for mailing. Under that practice, mail is deposited with pre-paid
   16   postage with the United States Postal Service in the ordinary course of business.
   17           I declare under penalty of perjury that the foregoing is true and correct.
   18   Dated: November 17, 2021
   19
   20                                                    William Reeves
   21
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                                                     1
        PROOF
